Case 3:23-cv-22130-MCR-ZCB   Document 155-13   Filed 03/14/25   Page 1 of 176




          Exhibit 12
                               Case 3:23-cv-22130-MCR-ZCB             Document 155-13    Filed 03/14/25   Page 2 of 176




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..   -   ..   .   . . . ·#-:   ....   :·   : _ .... :




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                                                 ··_    •   ...: -




                                                                     UPSALITE
Case 3:23-cv-22130-MCR-ZCB   Document 155-13   Filed 03/14/25   Page 3 of 176




      PSALITE 1989




                  Wf OIWG: PlJBUCUBAAIW'
    Case 3:23-cv-22130-MCR-ZCB   Document 155-13    Filed 03/14/25   Page 4 of 176




     TABLE OF CONTENTS
    SECTION                      PAGE
    l'ime for Friends . ............. 3
    Time for the Future .......... 17
    Time for Family ............. 50
    Time for Involvement ........ 66
    Time for Fun ................ 98
    Time for Action ............ 120
    Time for the Past ........... 140
    Time for Home ............. 144
    Time for Advice ............ 150
    Time for Expansion ......... 170
    Time for More Friends ...... 172
    Time for Support ........... 184 "May there never develop in me the notion
                                                   my education is complete, but give me
                   1989                            strength and leisure and zeal continual[:
                                                   enlarge my knowledge."
         Our Moment in Time                                       - Maimonides




2
Case 3:23-cv-22130-MCR-ZCB   Document 155-13   Filed 03/14/25   Page 5 of 176




                                                                                3
Case 3:23-cv-22130-MCR-ZCB       Document 155-13       Filed 03/14/25   Page 6 of 176




        Live each day so that you will neither
           be afraid of tomorrow nor ashamed of yesterday.




4
Case 3:23-cv-22130-MCR-ZCB   Document 155-13   Filed 03/14/25   Page 7 of 176
-   -     -     -      -      - {-



Case 3:23-cv-22130-MCR-ZCB   Document 155-13   Filed 03/14/25   Page 8 of 176




6
Case 3:23-cv-22130-MCR-ZCB        Document 155-13   Filed 03/14/25   Page 9 of 176




                             ~111t o   have
                             n·     riends . .
Case 3:23-cv-22130-MCR-ZCB   Document 155-13   Filed 03/14/25   Page 10 of 176




 8
Case 3:23-cv-22130-MCR-ZCB   Document 155-13   Filed 03/14/25   Page 11 of 176
Case 3:23-cv-22130-MCR-ZCB   Document 155-13   Filed 03/14/25   Page 12 of 176
Case 3:23-cv-22130-MCR-ZCB   Document 155-13   Filed 03/14/25   Page 13 of 176




                                                                                 11
Case 3:23-cv-22130-MCR-ZCB   Document 155-13   Filed 03/14/25   Page 14 of 176
Case 3:23-cv-22130-MCR-ZCB   Document 155-13   Filed 03/14/25   Page 15 of 176
     Case 3:23-cv-22130-MCR-ZCB   Document 155-13   Filed 03/14/25   Page 16 of 176




14
Case 3:23-cv-22130-MCR-ZCB   Document 155-13   Filed 03/14/25   Page 17 of 176
     Case 3:23-cv-22130-MCR-ZCB   Document 155-13       Filed 03/14/25   Page 18 of 176




      or everHthin
     under hea
          a ti
          a ti            ,         . .,
             planted;
          a time to kill, an a 1          . ea ;
          a time to bre~k down, aua a time
          a time to weep, and a t·       to laugn;
          a time to meu.r n, and a time to dance;
          a time to cast awaM stones, and a time
             together;
          a time to embrace, and a time to • •                                     .
          a time to get, and a ttme to los
          a time to _keep, and a time t
          a time to rend, and a time •
          a time to k       ilettce, a .
          a ti         •    nd a time
                                           .        ~




16
 Case 3:23-cv-22130-MCR-ZCB   Document 155-13   Filed 03/14/25   Page 19 of 176




             SewoJL ~~st
£ 1. .At.ea. DistllibLltirnt Qe q ~
L 2. Mqjo!L CoWtSes
L g. ~eD!lbool2 Pll..oto
     4. MititoJL Counses

     5. 4 9Jllltivtg ImeRSilYe Counses

     6. UeD!lboo~ l?io(JJLOp~

     7. JuwoJL ~

     a. QesUMe
     g. UeD!lboo~ t?oosteJtS

    10. P~ Turtiotil9

                    GJLoduatell!
                                                                                  17
Case 3:23-cv-22130-MCR-ZCB   Document 155-13   Filed 03/14/25   Page 20 of 176




            Denise Adams                 Rosemarie Afonso                   Patrick F. Allen
               Biology                      Psychology                          Business




            Odette Almeida
                 MCS




            Juan C. Alonso
                Spanish

  18
Case 3:23-cv-22130-MCR-ZCB   Document 155-13   Filed 03/14/25      Page 21 of 176




                                                                Sharon Anglin
                                                                Business Admin.




                                                                 James Apple
                                                                Business Admin.

                                                                                    19
     Case 3:23-cv-22130-MCR-ZCB   Document 155-13        Filed 03/14/25   Page 22 of 176




          Allyson Backstrom
              Chemistry




            Vernita Baker
           Business Admin.




            Pauline Best                 Edward Bogash                       Jacquelin
               English                    Political Science                        Ch

20
Case 3:23-cv-22130-MCR-ZCB     Document 155-13   Filed 03/14/25    Page 23 of 176




                                                             Pauline Carides
                                                               Social Work




           I


                 '
                                                             Ronit Chromoy
                                                             Comp. Info. Sys.




•a Cirrincione               Nancy Compton                   John Corallo Jr.
 MCS                          Mathematics                     Business Mgt.

                                                                                    21
     Case 3:23-cv-22130-MCR-ZCB   Document 155-13        Filed 03/14/25   Page 24 of 176




        Esther Couloute                Donna Creanza
                                       Business Admin.




        Elizabeth Czepiel
         Sociology/ HRM




          Kathy Darby
         Business Admin.

22
Case 3:23-cv-22130-MCR-ZCB     Document 155-13     Filed 03/14/25     Page 25 of 176




                               Warren Davis                    Michele DiGuiseppi
                             Human Resource Mgt.                Computer Science




                                                                    Chika Ezeokoli
                                                                    Business Admin.




                                                               Anna Marie Foschini
                                                                     MCS

                                                                                       23
Case 3:23-cv-22130-MCR-ZCB         Document 155-13   Filed 03/14/25   Page 26 of 176




                  David Frisk
                 Business Admin.




                 Franca Grieco
                 Business Admin.




             Felicia A. W. Hamilton             Wendy Rene Hamilton
                      English                      Business Admin.
Case 3:23-cv-22130-MCR-ZCB     Document 155-13   Filed 03/14/25      Page 27 of 176




                                                            Mark Hicks
                                                        Human Resource Mgt.




                                                         Douglas J. Holt
                                                           Business Mgt.




                               Mark lras                    Gurvindra Johal
                             Political Science                    Chemistry

                                                                                      25
Case 3:23-cv-22130-MCR-ZCB     Document 155-13   Filed 03/14/25   Page 28 of 176




              Jean Jones                    Joanne Joseph                      Diane Kahler
            Business Admin.                 Business Admin.                 Human Resource




              Brian Kelly
            Business Admin.




            Chang Gun Kim
             Business Admin.

  26
 Case 3:23-cv-22130-MCR-ZCB   Document 155-13   Filed 03/14/25    Page 29 of 176




   Khee Koh                    Manal Kotb                        Robert Lang
....omputer Science            Biochemistry                       Economics




                                                                 Carol Layton
                                                                  Psychology




                                                                  Linda Legon
                                                                   Physiology

                                                                                   27
Case 3:23-cv-22130-MCR-ZCB   Document 155-13    Filed 03/14/25   Page 30 of 176




         Elania Lewis
          Theatre Art




     I
         Mirlene Lindor
          Biochemistry




           Robert Luca                  Romaine Lynch
             Business                     Physiology

28
Case 3:23-cv-22130-MCR-ZCB    Document 155-13   Filed 03/14/25     Page 31 of 176




                                                            Audrine McDonald
                                                                 Phys. Therapy




                                                                 Leon Mettler
                                                                  Economics




                              Lisa Minatee                  Eulalia Moreno
                             Business Admin.                       MCS

                                                                                    29
Case 3:23-cv-22130-MCR-ZCB   Document 155-13   Filed 03/14/25   Page 32 of 176




            Amy Northrop                  John O'Connell                   Michael Orsula.k
               History                    Business Admin.                   Business Admin.




             Shruti Patel
              Chemistry




            Martha Pauleus
              Accounting

  30
   Case 3:23-cv-22130-MCR-ZCB     Document 155-13      Filed 03/14/25   Page 33 of 176




Michele Peoples                  Antonio Perez                      Marie Pierre
    Finance                     Computer Science                    Biochemistry




                                                                   Phoebe Pierson
                                                                    Comm./Eng.




                                                   )
                                                                  Orlando Quinones
                                                                        MCS

                                                                                         31
Case 3:23-cv-22130-MCR-ZCB   Document 155-13    Filed 03/14/25   Page 34 of 176




        Tabatha Richardson
          Business Admin.




           Merna Ricks
          Communications




          Wendy Rivers                 Matthew Roberts
              English                   Business Admin.

32
Case 3:23-cv-22130-MCR-ZCB   Document 155-13   Filed 03/14/25      Page 35 of 176




                                                            Iliana Rodriquez
                                                                   MCS




                                                                 Dawn Rogers
                                                                Political Science




                                                           Karen Stefaniak
                                                          Human Resource Mgt.

                                                                                    33
Case 3:23-cv-22130-MCR-ZCB   Document 155-13   Filed 03/14/25   Page 36 of 176




         Celeste Stevens                Sean Stevens                    Timothy Stew
         Business Admin.                    MCS                            Business




          Barbara Stott
           Biochemistry




          Nelson Tavares
               MCS

34
Case 3:23-cv-22130-MCR-ZCB     Document 155-13    Filed 03/14/25      Page 37 of 176




                             Sherie D. Thompson                    Thomas Thorne
                               Business Admin.                     Business Admin . .




                                                                   Georgina Tjipura
                                                                       Biology




                                                              Delphine Toussaint
                                                                   Business

                                                                                        35
     Case 3:23-cv-22130-MCR-ZCB   Document 155-13   Filed 03/14/25   Page 38 of 176




        Joette M. Vecchione
         Counseling Psych.

36
                Case 3:23-cv-22130-MCR-ZCB                  Document 155-13   Filed 03/14/25           Page 39 of 176




        ace alaureate
         Speaker
         Riley, Jr.
                                                                                          LEG/.
      e Reverend E. Roy Riley, Jr. was ordained in 1974 by the
    - Carolina Synod of the Lutheran Church in America (LCA).                   ~
    - r Riley served for six years as part of a team ministry at               --.J
       urg Lutheran Church, Winston-Salem, North Carolina. In                  -J     > - - - --   -----    M
    - he became assistant to the Bishop of the New Jersey Synod,                                            (J)
                                                                                                           ......   I\
  --_ and has continued to serve part-time on the Bishop's staff in
      ewly formed Evangelical Lutheran Church in America (ELCA)
        with serving as a staff member of the Commission for                                                        ~
       cial Support, Congregational Services, ELCA.
     - tor Riley's work has focused on church stewardship and                            0 MN I A \J   ~ :22,2~
       ial development and he has been the executive producer of
        ous church videos.
   - 1970 graduate with honors from Lenoir-Rhyne College in
       ry, North Carolina with a B.A. in English, Pastor Riley has
      do n the Board of Trustees of his alma mater. He received his
- -·"· degree from Lutheran Theological Southern Seminary.




                The Upsala A ward
                                         AWARDS                               Gold "U" A ward
       lyson Backstrom                                                Allyson Backstrom
        nit Chromoy                                                   Brian Bartley
       izabeth Czepiel                                                Nancy Compton
        nne Graves                                                    Donnette Cruickshank
        thryn Jimenez                                                 Elizabeth Czepiel
       ndra McCarthy                                                  Robert Luca
        bert Urban                                                    Stefanie Smoke
        nthia Walton
        Class: David Macheska
       enneth Dietz Award                                                              Donnette Cruickshank
       aledictorian                                                                         Cynthia Walton
        utatorian                                                                          Kathryn Jimenez



                                                                                                                         37
          Case 3:23-cv-22130-MCR-ZCB                     Document 155-13             Filed 03/14/25         Page 40 of 176




Denise 0. Adams (Necy)
                                 Biographies     Special Thanks to God, my mom, aunt and         Edward R. Bogash (Eddie "B")
With God all things are possible                 uncle, my cousin Gallie, my brothers and        The person who gets ahead is the one who
Medical School                                   sisters. Thanks to my professors and friends    does more than is necessary and keeps on
Delta Sigma Theta Sor., Angel Club, Tri          who helped me a lot during my college           doing it.
Beta Honors, Gospel Choir, Black Student         years. I won't forget the fun that I had in     Pursue a career in law
Union                                            Dr. Porter's class and the crazy girls in       Political Science club (President), Pre-Law
00-00P to all my sorors and AAY -                TH17                                            Club (VP), Accounting and Economics Club
Sweet to my angel sisters. So long to the                                                        (Treasurer), Business Club (Treasurer), Psy-
Frats.                                           Jack Aniboli (Jake the Snake)                   chology Club, Student Government (V.P.),
                                                 Live your life to the fullest.                  Student Mentor, Honors Program, Spring
Rosemarie Afonso                                 Rho Alpha Phi, Football (4 yrs.), most loyal    King, Homecoming Court
Mom and Dad ... I am grateful for all the        and dedicated 88-89                             The personal and sincere relationship be-
hard work and sacrifices you have gone           Look team award - Best Prospect                 tween faculty and students made for an
through for me. Thank you for all that you       Hanging out with my brothers of Rho Al-         exceptionally rewarding four years at Up-
have given me. I love you both very much.        pha Phi                                         sala. Thanks to all!
Sabi ... You are a boy friend and a best
friend all in one. It is because of your love,   Allyson Dawn Backstrom (Spud, Al, P2,           Jacqueline-M. Bushong (U.P.)
support, and patience that I have come this      the girl from Idaho)                            To sleep at night.
far and now the time has come to make all        "It is said; he who has learned to laugh at     Camel Driver - Treasurer, Publications
of our dreams come true ... I love you.          himself has truly learned."                     Bd. Chair., Foci Editor.
                                                 Camel Drivers Pres., Tres., RD, RA, SI,         Dr. Most, Dr. Porter, Dr. Rollino - Thanks
Patrick F. Allen (Joe Isuzu)                     SGA Natural Science Senator. SGA Edu-           for encouraging and helping and having
If you're defeated and beat today, just kick     cational Policies Council Chairperson, Ac-      faith that I could. Thanks Allyson, Matt,
a-- tomorrow.                                    ademic Assembly, Student Admissions As-         and Leon for friendship and a shoulder
To be the best at whatever I do.                 sistant                                         when I thought I couldn't. Thanks Camel
Alpha Kappa Psi, Business Club, Political        Road Trips with M2, UP, and RA. GFP's           Drivers for the fun and thanks to my co-
Science Club, Phi Alpha Theta, Upsala Ga-        classes/SP and GJ, clean up the lab. Every-     workers for the support.
zette                                            one who thought I was dependable and
All the road trips we took to Rutgers, NYC,      reliable think again. Camel Drivers you're      Ronit Chromoy
Bagel Buffet and any where else the war          the best friends ever - don't forget teasing    Honors Program, Dean's List
wagon or the rice burner could go.               is a sign of affection. Matt remind them. Liz   The battle of breadsticks. Handstands in
"Have gas will travel" Thanks Mom and            - we're interchangeable. Thank you for          the library and my personal armchair and
Pete.                                            sharing your love for learning, Dr. Most        table in the library. It was a nice three
                                                 and Dr. Rollino. Dr. Porter - Don't worry,      years. Good luck to the ones who were left
Odette G. Almeida (Dete)                         I won't let the door hit me on the way out.     behind.
Student Mentor
Breakfast Club: AF, NT, DG, JD, MK, RC,          Vernita Baker (Nita)                            Rosaria Cirrincione ("Roe")
Dinner Parties, Down the Shore, Ping-            Gospel Choir, Cheerleader (1985-87), Zeta       "Le Coeur a ses raisons que la raison ne
Pong and Pool, My own Pool coach - J.D .         Phi Beta Sorority Inc. Summer of '85,           connait pas."
& V. Bocci Ball in Verona Park.                  1/8/86, Golden Girls, Fall '87 Exam Cel-        To become an established professional i
                                                 ebration SSH Party, WM hold out, So long        the field of International Business.
Juan C. Alonso                                   RL, SF and Gospel Choir                         International Student Organization, Ac-
Karate Club, Intervarsity Christian Fellow-                                                      counting and Economics Club, Yearbo
ship                                             Pauline E. Best                                 Staff
                                                 Physical Therapy                                Remembers working at the French Embas..
Saverio Amato (Sal)                              Tri-Beta Biological Honor Society, Kiwanis      during 1988, hanging out with th
Success                                          Scholarship                                     "commuters" and taking French for 4 years
Rho Alpha Phi                                    This beautiful moment would not have ex-        I wish the best of luck to AF, GA, MK an.:
                                                 isted without the love and support of my        NT.
Martine Andrieux (Matou)                         parents and grandmother. I want to take
La vie n'est pas Facile, mais avec un peu de     this moment to thank you and ensure you         Nancy Carol Compton (Godmother)
patience et de courage, tout ce que vous         that your inspiration has, and always will      EPC - 2 years ... Alphie Pres. in '87-8
desirez s'accomplira.                            guide me and live in my heart. May God          . .. YB Ed. '89 ... Academic Review - .:
Physician                                        Bless You                                       yrs ... "I am NOT a Camel Driver!" . .
Tri-Beta Award from Biology Department


38
             Case 3:23-cv-22130-MCR-ZCB                        Document 155-13            Filed 03/14/25        Page 41 of 176
 Education Modules . . . "Alphies Shine             - Let's go with a Boom. To Mark B., Keep     Alpha Kappa Psi National Professional
On!" ... TH 18 & 19 ... Camel Drivers -             the Faith (you're gong to run this place      Fraternity Inc. President, Gamma Sigma
 Thanks for sharing so much! I love you all!        someday!)                                     Sigma National Sorority Inc. Treas., Busi-
 . . . Extra Love to ALL my sisters! Don't                                                        ness Club, Pep Squad
  orget me! .. . Wendy - I can't believe it's        Elizabeth Czepiel                            The day I went over (GSS), BC I Love You,
 JVer . . . Liz - Thanks for trading parent          Academic Assembly 3 years, Educational A special thanks to Kendy Rudy and Ron
:tories and always understanding! ...                Policies Council Student Chairperson 2 Cenno "for everything" To all my friends
Missy - a button? ... Al - Orientation               years, Academic Review Board 1 year, Li- and coworkers in Security, I'll miss you
 ?Toup 2 (?) with Denise, Arlen, Bill, Jeff, etc.    aison Student Chairperson 1 year, Liaison
You've put up with me longer than anyone             Student Representative to the Board of David R. Frisk
 ~lse - THANX! ... Bill- "You're a grand             Trustees, Student Chairperson for the Re- Theta Epsilon - GODS, VP'87, Pres'88, 4
   l' flag!" . . . Kathy - If we only had 16         Accreditation of Upsala, Middle States Re- yr. letter winner soccer, golf '87, hockey '88
   ages, I couldn't put this in - THANK              view Board, "Food for Thought" recipe col- Pledge class '85: WL, RG, EC, BW, DR, DK,
   OU! ... Mom and Dad - I LOVE YOU!                 umn for the Upsala Gazette, Student Rep- MB, JG, AJ . . . Townhouses . . . Happy hour
-:HANK YOU FOR BEING MY PARENTS!                     resentative to the Association of ... Pig's in space ... Mr. Jerko-- .. . Dr.
     aith, Hope, and Charity . . . but the           Independent Colleges and Universities in Love ... the only goal ... the old school ...
.; eatest of these is charity."                      New Jersey, Honors Program 4 years, Stu- Best of luck to the new school . . . Thanks JB
                                                     dent Affairs Committee 1 year, Activities . . . OE forever, to the brotherhood.
    hn Corallo Jr . (Lambert the Lion)              Award '87-'88, SGA President's Award of
-:: be a millionaire 5 times over.                   Merit '86-'87, Tutor in Learning Center Anna Marie Foschini
:!_Ockey (4 yrs), Captain '87-'88, BSM Club,         '87-'88, Student Mentor 2 years.            God grant me the serenity to accept the
   ?arbook '87                                                                                    things I cannot change the strength to
  -CAA's Indiana vs Syracuse, Orlando and            Glenn L. Darden                             change those that I can and the wisdom to
- - My two best friends, God Bless you               Law School                                  know the difference.
     ays.                                            Pre-Law Club, Political Science Club, Bas- To be Happy, Healthy and Successful.
                                                     ketball '80-'82                             "The Breakfast Club" NT, OA, JD, DG, 0 &
      na E. Creanza (D.D.)                          All things are possible with time.           A Dinner Parties, Seaside after finals 5/86.
      agement                                                                                    Cramming for finals at OAs The game room
- :nors Program (85-89); Semester Honors             Charlene Davis                              shooting pool, Verona Park LM To all my
      (86-88); "The National Dean's List"           Becoming a CPA                               friends left TR, FG, MK, NT, RC, OA - We
  --87, 87-88); Senior Class Secretary;             Delta Sigma Theta Sorority Inc.              did it, I wish you all the best, congrats
      book Staff; Who's Who Nominee.                S.S.L. - I'll always remember what we
      ks to my family and friends who were          could have shared together One day I hope Felicia A . Williams-Hamilton (Fee)
    2JIS there for love and encouragement           you'll find everything you are searching for Upsala, I have enjoyed my stay. To all
   " help along the way. To my very good            in life. Thank-you to all of my true friends underclassmen, learn as much as you can,
     uis: Kim & Val, special thanks for just        who were there for me when I needed you. and grow with the college. Enjoy life and
        you. To my parents, for their pa-           00-00P.                                      live
     -e, care, and understanding, Thank                                                          To be a better person and to fulfill all my
      I couldn't have done it without you.          Warren L. Davis Jr . (Macdaddy,              goals.
                                                    Deception, Snoopy)                           1985 Mascot for Men's Basketball Team,
 cmt.ette Andrea Cruickshank (Donut)                To be happy                                  Coordinator of the Young Mother's Club,
   - 3less me and thee while we are apart           Alpha Phi Alpha, Captain and MVP Men's 1988 Spring Forensics Team, Secretary to
    -=.um the other! (Old Irish Proverb)            Varsity Basketball, Black Student School the Director of Campus Life Services.
        ·ne Editor (preferably Freelance Ed-        Tutoring Program, Resident Assistant, There have been times when I wanted to
                                                    Creepers, tutor and teaching assistant       give up, but true friends kept me going.
        tudent Union, Alpha Angel Club,             Thanks to God, Mom, Dad, Sis, Family and Thank you Dave for all your help. You've
   -ro Gov't Assoc., Resident Assistant,            Friends. To those special few, I will always been more than a boss but a real friend.
        's Tennis, Homecoming Queen's               love you. May the light shine forever. '06. Mom, Dad, Thanks for your support. I did it
                                                    The last of the creepers retires undergrad- Carey! Mommy loves you pumpkin! Allen
     _ _x, was special in its own way. I will       uate fin. The Bahamas Basketball Trip. To and Keesha you're almost there.
        .,_er B.S.U. '88 AND Alpha Angels           those who have made this trip worthwhile,
     •-. Summer Sessions '87 and '88, and           be cool. Summer EOF '86, 87. Yo Les, pour Wendy Rene Hamilton
    -= ' 8 Gimme that! To the friends I             the "S&W" 'cause I'm out of here .. Peace.   ". .. you plant your own garden and dec-
       - ind - Don't let this place change                                                       orate your own soul, instead of waiting for
              if it is for the better!) To my       Michele DiGuiseppi (Mish-Mish, Shelli,       someone to bring you flowers . . ."
      - - I leave you whatever God has in           Mich, Bernieri Jr.)                          To be a great success, to make "enough,"
       -_ you. To Tommy - Thanks for                Each dream in your heart lies within reach and to make those proud
         • the Best and most nerve-racking          if you just believe in yourself.             Senior Class Vice President, Yearbook Asst.
          :: my life - I love you! To Shawnie       Enjoy my job, my life, and family and to Editor, National Dean's List Award, Bus.
                                                    live comfortably.


                                                                                                                                          39
      Case 3:23-cv-22130-MCR-ZCB                     Document 155-13             Filed 03/14/25         Page 42 of 176

 Club, Homecoming Court, Social Science          If you're losing the game, change the rules.    Linda J. Legon
 Senator, Jr. Class Secretary, Dean's List,      Soccer '84-'87, Captain '87; Intramurals.       CEO/Administrator
 Activities Award '89 Spring Court, Soph.        Hi Wend. - You're a Goober. Thanks Mom
 Class Secretary, Gazette Writer, Tri-Beta,      and Dad.                                        Elania Adell Lewis
 Honors Program, Who's Who .                                                                     I thank God for each day, I live for that da;
 Honors Prog./run on election ticket/Bio         Michael Allan Housman (M Haus)                  and not for tomorrow because tomorro
 majors - Stef, Shruti, Reg RATS "what do        To be afraid of dying is to be afraid of        isn't promised.
 you mean no gloves" - no way /Running           living.                                         To become a successful actress & consu..-
 thru NYC (what did the guy on the es-           Football #80                                    tant.
 calator say? - "Sorry, no time")/Atlantic       GD! People, Spanky's TH 12                      Workshop 90, B.S. U. / Award for outstand-
 City w/ the Gods/DON'T YELL/Soph.                                                               ing young women 1986, modeling and M ' -
Year is a time for lots of changes: Stef and I   Mark Iras                                       N.J. Galaxy Pageant swimwear winnr
won elections. We also change major              Political Science Club, Pre-Law Club, Hon-      1987
. . .?/B*U*W*A *J /Parties and Presents.         ors Program .
with my 3 JMs and the therapy /I owe them        The Best is yet to come.                        Marie Mirlen Lindor (LeLene)
a lot/Here we go with the Fund Rsrs.                                                             Fais de l'Eternel tes dilices et il te donlW"!
(Reserve our table)/A. Lin #1 sales/Fri &        Gurvindra Johal (Lali)                          ce que ten coere desire. Physician.
Sat by A.LAC. Stam I am, Green Eggs and          Hard work is a prerequisite for success!!!      Tri-Beta, Literary League
Ham with JC/DH takes care of FM and              Medical School                                  Special thanks to God, my parents, for the-
me/Spring Week - QC - what a                     Tri-Beta, Honors Program, ISO, tutoring,        encouragement and dedication through
night/Nat'l DL? Awards Dinner - what a           S.I., Chemistry Departmental Award,             my four years. Also my sisters, Jes •
joke (finally)/ DL/Florida in May (DW            S.G.A.                                          Nirva, Patricia and brother, Junior,
"wow")/G&G go bye bye/Goober/Getting             Thanks to all my professors, especially Bi-     aunt and her family. Last but not letc
stuck        on       NJTP /Yay           for    ology, and Chemistry, for giving me the         Thanks to my Professors and my friends
"21"/Homecoming/W&C success/Fri                  knowledge to achieve my goals. Thanks to
nites with GG,DG,LG,& the girls. Looking         all my friends who along with me worked         Robert Anthony Lucas (Boomer)
for      SDD       rooms/L's         friend      hard to graduate. Special thanks to Zach,       Score Scholarship, Dean's List, Activi •
T /Volleyball/Pub w /S&D /Party                  Shruti, Sham, Georgina, Gina, Allyson, and      Award, President's Award of Merit, S
w/PG/All of DK's classes/subbin 19 NYE           Mike, and all of the Learning Center Staff      dent Government, Intramurals
party /Working on the YB w NC &                  for making my 4 years at Upsala memorable       Thanks Mom and Dad for all your
staff/Fund w.DC/Dancin w SS/Bowlin w             ones.                                           couragement and support over the years..
JF & RM/Az-miss me/I think I'm fal-                                                              Love You. Best of luck to all my fel
                                                 Jean A. Jones                                   classmates, especially the South Je
l in/ Sr . Din Dance -               Hurry!
                                                 Health Care Administrator/Director of           crew on the 3rd Floor.
Great! /(Sneaker)/ Graduation -
                                                 Nursing
YAY!/Party- Great DJ - Presies/My 22
                                                                                                 Romaine Lynch (Maine, Romance)
BD-CATS/Great Day in NYC/Go As-                  Joanne Joseph                                   Trust in the Lord with all thine heart;
tros/WW w/Hi Honey Stef - we made it             Life is not a having and a getting, but a       not unto thine own understanding. In
happen /Doug a prince of a guy /Yay              being and a becoming.                           ways acknowledge him, and he shall di
Dad/Mom what a woman.                            To be a Vice-President of a well established    thy paths. Prov. 3:5-6
                                                 firm in ten years.                              District Attorney and Child Psychologis;
Eric Oliver Harris (E)
                                                 Business Club, Political Science Club and       Cheerleaders Mgr. 1986-87, Gospel Ch •
To be great is to be misunderstood
                                                 Women's Softball Team - most Valuable           yrs., Alpha Angel 2 yrs
To be the best that I can.
                                                 Player, Coach's Award, and WIAC Conf.           Thank you Lord, You deserve the hig
Business Club
                                                 Team 88                                         praise today, for without you none of :
I was a summer counselor and the freshmen
                                                 I want to thank my Mom, Dad, Grand-             would have been possible. Thanks MO
coming in tried to demonstrate their man-
                                                 parents, Louie and the rest of my family for    for your undying love and support. I w
hood, and one did not make it.
                                                 supporting me through the tough times and       also like to say thanks to Johnetta, Tr
Mark Craig Hicks (Granpa, Tribulations)          being there during my times of accom-           Wayne, Chas, Q, for all of your su
Life is a test, so test life.                    plishments in the past four years of college.   through these four years. Good Luck.
To be financially independent.                                                                   those special people in the Class of 199-
                                                 Diane Marie Kahler
Alpha Phi Omega, Alpha Kappa Psi, and
                                                 Life is an adventure.                           Estelle Lorraine Maynard (Stella, Po
Latin American Union
Thanks Alpha Phi Omega Fraternity, Inc.,                                                         Bear, Stelly) .
                                                 Carol Ann Layton                                Alpha Angel, Black Student Union, F
Alpha Kappa Psi and Special thanks to            Theta Beta Gamma Sorority INC., SGA,
Debra, Jackie, and Yolanda for all their help                                                    Student Activity Award.
                                                 Softball                                        To all my children, angel sisters
and also Special thanks to my family.            Just remember girls, Black is powerful and      friends: good luck in the future . To
                                                 Gold is beautiful.                              enemies, I got mines its time to get y
Douglas John Holt •
                                                                                                 and you know what good luck. I wan;


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   hank my Case second 3:23-cv-22130-MCR-ZCB              Document
                         mom. "Mrs. Leaphart" Tutor, Student      Mentor,155-13       Filed 03/14/25
                                                                           Ex-R.A., Honors                 Page
                                                                                              Basketball, RA,      43 of
                                                                                                                Latin     176 Union,
                                                                                                                       American
 m d family for everything you have done for Program, Dean's List, Chemistry Award, Black Student Union, Intramural Sports
      e and I want you to know that you won't Tri-beta, secretary-ISO, Lab TA, Natural Townhouses, Basketball Trips, Good
 roer be forgotten ever. AND LAST BUT Science Division Senator                               Friends, "BUSCH" (the best)
 ~ OT LEAST. I want to give a special I will miss you all - Dr. Porter, Dr. Rol-
 .hanks to my mother "Edith" for all she has lino, Dr. Most - Thanks for everything. Sham Ramrattan
 done for me during my four years in college, Also, Good luck to my friends Georgina, Never give up, keep on preserving.
 "or giving me the strength to go on and Allyson, Lali (Turbanhead), Zac, Sham, Ma- Medical School
    elieving in me when the roads were rocky. rie, Mirlene, Wendy, Thabo, Leon, Mrs. Tri-Beta, I.S.O., Tennis
 l LOVE YOU MOM!                                Johnson, Dr. Sellmer, Mummy, Pappa, "Bravo Zuly" to all the Upsala Faculty who
                                                Chirag - Thank-you.                          inspired us ambitious students and made
 Audrine Andrea McDonald                                                                      Upsala No. 1 to us. Also, thanks to my
 _\1y ambition is to be the best at whatever I Teresa Pego (Teri)                             compadres, Gurvindra, Shruti, John, Ge-
 :lo.                                           To be the best I can be.                      orgina, and Mike who make my time at
 To Myrone (the love of my life), my entire Tri-Beta, Sigma Prez '87-88                       Upsala memorable.
 ramily, especially you mom ... Thanks for Thanks Frances and Dee for believing in
 encouraging and seeing me through my me. I love you both very much. To the Taus, Tabatha Arnita Richardson (Tab,
 rour years at Upsala. Also to my best friend thanks for all the great times, and thanks Tabby)
;md study buddy Lisa, thanks for every- for being such great sisters.                        To achieve a successful career in the field of
 .hing especially the coffee cake.                                                            business
                                                Antonio Perez Jr. (Tony)                     Senior class treasurer, Black Student Union
Leon P. Mettler (RA and Master)                 To acquire true knowledge, one must first Member, Literary League Member.
 To stop jogging.                               experience, so experience is knowledge.      I wish happiness and success to my fellow
Camel Driver, I.S.O., Resident Advisor, To Grow in knowledge and in success.                 classmates and friends. Also, never give up
Honors Program, Dean's List, Who's Who          Alpha Phi Omega, Alpha Kappa Psi, Latin on achieving your goals.
 Th anks Thabo, Koekie, Camel Drivers, Pro- American Union, M.O.K. Pledging for Al-
  essors, Pastor Freyberger, Susan and Amy pha Phi Omega, The Summer of 1984, "To Joseph Anthony Riggio
    tern.                                       be master of my own future and destiny." "Good things come to those who wait"
                                                "A mortal that made fools of the Gods." To To work in an international banking firm.
Edward D. Miller (Enes)                         all my friends, live long and prosper.       Baseball, Volleyball, National Member ZBT
Football Captain, Golf Team, Rho Alpha                                                       Fraternity
Phi                                             Majorie Marie Pierre (Jou Jou)               My summer trip to Greece, Hanging out at
-:-hanx Mom and Dad for Everything. I love Si L'Eternel n'etait pas mon secours, mon Houlihans and Joeys. Going Down the
• ou. Al thanks for all the support, I love ame sera bien vite dans la demeure du Shore and hanging out at DJs./To my
• ou. To Coach Capraro and the Upsala silence.                                               mother, father, brother, and sister thank
i ootball Team - Good Luck in the Jers. Medical Doctor/Surgeon                               you for all the support you have given me
C.Onf.                                          Tri-Beta, Honors Program, Black Student these past 4 years.
                                                Union
     • a Minatee                                Special Thanks to my God, my mother, and Wendy A. Rivers
_fy ambition is to be the best at whatever I my professors, specifically Dr. Porter and To always do my very best.
                                                his lectures, and Sr. Sook Choi for her ded- Softball and Volleyball Teams, Student
: would like to thank my family especially ication to the bio-students. A special mes- Mentor, Tutor, Literary League VP, Gazette
          mom, for being there for me through sage to Mr. Pierre Lindor for his help Staff Writer, yearbook Photo Editor
  • ups and downs of my college years. You through those 4 years. Good luck Georgy, Thank you Dad and Mom and Deb for
         e been a great inspiration. Also to my Shruti, Martine, Mirlene, and Jeannette giving me the encouragement, strength,
   oyfriend Greg, thanks for being so caring Cambrone.                                       and support to reach this point in my life.
     u1 understanding, I Love You. Audrine,                                                  Thanks also, for putting up with my cra-
:..ongratulations and thanks for everything. Phoebe Christine Pierson                        ziness during exams. I Love You.
                                                He who smiles rather than rages, is always
     hn F. O'Connell Jr. (0. C. Johnnie)        the stronger.                                Matthew Roberts
 _ e essence of communication is intention. To be happy and make others happy.               To all my good friends Bill, Bob, Matt, Jim,
::-- be successful in the music business.       Gazette Editor, English Club, Dean's List,   Steve,  Sonny, and Dennis. It's been real.
.: anish Club Organizational Committee, Who's Who Nominee, The Learning Center Special thanks to my family Mom, Dad,
~. iness Club                                   - thanks Debbie. Thanks Gazette Staff, I Bill, Crissy, and Meaghan.
     :i: God told you exactly what it was you   couldn't have done it without you Eric -
    ere to do, you would be happy doing it no Thanks for help in Public Speaking (ha) Shawn Chari Robinson (Shawnie)
        tter what it was. What you're doing now 9/18/87, thanks Mom and Dad - I love Persistence overcomes resistance.
- hat God wants you to do. Be happy."           you.                                         To be a success.
                                                                                             Freshmen, Sophomore, Junior Class Sen-
          ti Patel                              Orlando Quinones (Q)                         ator, Pre-Law and Political Science Clubs,


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         Case 3:23-cv-22130-MCR-ZCB                    Document 155-13             Filed 03/14/25         Page 44 of 176

Black Student Union                            thanks for all your encouragement and           Mirlene, Martine, Sham, Gurvindra, John,
Fashion Shows - Gary Gaytas '87, cin-          teaching me to go after my dreams. You've       Thabo, Maribel, Jeanette, and Leon. Last,
namon and gold '88, The kids paid homage.      helped to make college a great experience!      but not least, thanks to Prof. G. Porter.
Sessions with Wimbley and Mark B. Week-        Special thanks to Mom, Dad and Angie for
ends with MAP in the mountains, BSU get        all your love and support - and weekends        Marie Delphine Toussaint (Del)
you due respect "By any means nee"             home! I love you all!                           In order to conduct an orchestra you mu .
                                                                                               turn your back on the crowd.
Iliana Rebeca Rodriguez (Chilly Illy)          Karen Stefaniak                                 To avoid indifference.
Wealth, Power, Prestige, and above all         Soccer manager, Pub Staff                       Business Club, Upsala Gazette
Happiness.                                                                                     July 1, 1985, "Eric, you became a positive
Varsity Volleyball, Tau Beta Sigma Soror-      Celest Renee Stevens (squeak, Cessy)            change for me." Thanks
ity, Varsity Softball, Graduation. I'm going   "Ingenuity is the sign of a great woman"
to party til I drop. - I'm out of here.        To become Vice President of marketing of a      Pieter G. Tsiknas
                                               major corporation.                              Men aren't mountains.
Dawn Rogers                                    Alpha Kappa Psi, Advertising, Marketing         To get rich legally.
Become a lawyer, if not; open my own           and Management Org.                             Mikey, we made it!! Let's play another
business.                                      Pledging Alpha Kappa Psi, Prof. Kelly's         round now that we have time. Doc, dreaw
Good times w/ Fran and Maria Fun at            Jokes, Hanging around the Student Center,       come true ... addy. Lab Party '86. Tom, I'm
Mach Ber with everyone All the friend that     Gossipping with Paula B.                        done, Ha, Ha. Upsala, Thanks for the sec-
were a big help to Me: VC Eric, AFB, MG.                                                       ond chance.
and M and to all the prof. AP, PL thanks so    Sean R. Stevens
much. To my mom, thanks for all your           Changes aren't permanent, but change is.        Elizabeth Valente
support and understanding. I Love you!         To become successful in Business or Pol-        To my friends, the best anyone can ask for
                                               itics, or be a Tibetian Monk.                   - thanks for making these the greatest =
Manny Silva                                    Alpha Phi Omega, Alpha Kappa Psi, Phi           years. Dad and mom, thanks for everythin
Honors Program (87-89), Semester Honors        Alpha Theta, Varsity Tennis and Soccer,         I love you both.
list, "The National Dean's List (87-88)        Upsall Gazette Staff, Junior Year Abroad
                                               The Best time I had was my year abroad in       Cynthia Walton
Stefanie Lynn Smoke                            Germany. Thanks to Mom and Dad for              Student Ambassador 1985-86, WFMU
Success belongs to those who believe in the    footing the bill. Thank God I started           Staff/Disc Jockey 1986-89, WFMU Boar·
 beauty of their dreams.                       jogging. TH4. Good luck to Pat, Kevin, The      Member 1987-89, Upsala Award
Senior Class President, Junior Class Vice-     Kinnelom Crew, Motorhead, Merz.
Pres., Sophomore Class Vice-Pres., SGA                                                         Mark Wilborn (Biz)
Senator, Business Club, Academic Assem-        Nelson Tavares                                  To become a successful businessman.
bly, Alpha Kappa Psi (Treasurer), IFC, Res-    Honors Program, Dean's List                     Black Student Union, Varsity Basketba
ident Assistant, Judicial Board, Yearbook                                                      Team
Staff, Honors Program, Homecoming              Patty A. Thomas (Pat)
Queen, Spring Queen, Most Outstanding          What are you talking about?                     Carol Ann Wing
Organization - Senior Class, Gold "U"          Lindback Foundation Scholarship, Pres. of       Without the Lord in my life, I would ~
Award, Who's Who Among American Uni-           Theta Beta Gamma, S.I. Leader of Anthro-        nothing.
versities and Colleges, President's Award      pology                                          To be a good Social Worker.
(1988, 1989),Activities Award (1987, 1988,     On the football field, Theta's Formal, May      Thanks to Mary Swigonski and Joyce Lope=
1989)                                          God protect and Love you all; You are the       for their help and times they listened to me.
Oct. 10, Halloween '85, GOD parties, The       Future of our society.                          Without them I wouldn't be the Profe
Freshmen Crew, Chi Delta, Thursday                                                             sional Social Worker I want to be.
nights at the Pub, Shot #12, TCB&Me in         Sherie D. Thompson (SHA)
Chinatown, Love that punch, Ti, TH3,           To Have A Successful Business.                  Samuel Anthony Zamloot (Sam)
Mexico '87, Girl talks w/J-9 and WH, NYC       Alpha Kappa Psi                                 To become a C.E.O. with a respected com-
escalator, fundraisers - ugh!, Plays in the    Thanks cous'.                                   pany.
City, Birthday parties, Bobby's Corvette,                                                      Member of the baseball team, Businer
NHB, OE formals, Vivarin, Late Nights          Georgina Ndjambi Tjipura (Georgi                Club
                                               Puggi)                                          Trips to Florida with the baseball team.
w /Dave, Solanos w /BM, AC Trips, Home-
coming '88, The Fabulous Cocoa Mix, La-        If it weren't for Dinah, My sister, my effort
Mancha, LA!, Hawaii '89, Nachos at the         would have been a total failure.
Firehouse w /WH and DC, The Turtle brook,      Medicine
Prof. TW, Fun times w /DF and JG, Thanks       Tri-Beta, International Student Organiza-
for the advice and for being a great boss -    tion
Henry, Wendy - I couldn't have done it         Special Thanks to my Mom, sisters and
without you. Friends Forever! Bobby,           brothers. Thanks to my Professors, Bio and
                                               Biochem dept., to my friends, Shruti, Marie


42
   Case 3:23-cv-22130-MCR-ZCB   Document 155-13   Filed 03/14/25   Page 45 of 176




                     You are cordially invited
                       to share an evening
                               with
                     Upsala College's Class of
                                1989
                               at their
                       Senior Dinner Dance
                     Friday, the fourteenth of
                                April
                      nineteen hundred and
                             eighty-nine
                      at seven o'clock
                                    .
                                        in the
                               evening
                          Ramada Hotel
                               Route 3
semi-formal attire      Clifton, New Jersey




                                                                                    43
                  Case 3:23-cv-22130-MCR-ZCB                    Document 155-13            Filed 03/14/25          Page 46 of 176




                                                              UPSALA COLLEGE                                                                        I
                                                               EAST ORANGE, N.J. 07019



              March 6, 1985


              I have the pleasure of informing you that the admissions committee has approved your application to a baccalaureate program
              Upsala College beginning Autumn, 1985. Your admission is granted on the strength of your academic record to date, and
              contingent upon your final senior grades being satisfactory. Please arrange to have your official, final transcript sent to this o~
              as soon as it is available.

              It is necessary that I advise you at this time about Upsala's matriculation fee, which you may remember was described in t
              instructions that accompanied your application. Please complete the enclosed card and return it with a check or money order f.
              $100 by May 1, 1985. Although the matriculation fee is nonrefundable prior to your first enrollment at Upsala, you can qual~_
              subsequently either for credit to your Upsala account if you remain through graduation, or refund if you should withdraw from t
              college before graduation.

              In the weeks ahead you will receive communications concerning your enrollment at Upsala. Your cooperation in respondi
              promptly to any requests will be greatly appreciated.

              I am excited for you at the possibility that Upsala may help to shape your future . I hope that you are too. If I may be of furt
              assistance please do not hesitate to call me at (201) 266-7191.

              Sincerely,
Ii
              ~ J 1/uw.J
Ii
              Phyllis T. Walker
     ;

              Director of Admissions
              PTW:sd
It,           Enclosure




         44
            Case 3:23-cv-22130-MCR-ZCB                  Document 155-13   Filed 03/14/25   Page 47 of 176




                      Qilpon the rerommenbation of the .li:arultl! anb
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                htith all the rights anb prittileges thereto appertaining.
                ] n testimonl! tu hereof hte hatte affixeb our signatures
             at ffiast @range. Neht 1Jersel!, this sixth bet}! of ]Ital!, 1989.


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     Case 3:23-cv-22130-MCR-ZCB   Document 155-13   Filed 03/14/25     Page 48 of 176




                                                             The Board of Trustees, the Faculty

                                                                           and the

                                                                     Graduating Class of

                                                                       Upsala College

                                                              cordially invite you to attend the

                                                             Nineteen hundred and eighty-nine

                                                                 Commencement Exercises

                                                                  East Orange, New Jersey




46
Case 3:23-cv-22130-MCR-ZCB   Document 155-13   Filed 03/14/25   Page 49 of 176




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      Case 3:23-cv-22130-MCR-ZCB                     Document 155-13                  Filed 03/14/25              Page 50 of 176


                                   Candidates for Degrees
                            (Graduates and honors listed in this program are based on seven semesters of work. All honors listed
                                 on diplomas and/ or transcripts are based on the full record of all work at Upsala College.)


                                                      Bachelor of Arts
     Haleemah Abdulmuhaymin                      David R. Frisk                                           Michael J. Orsulak
     Rose Marie Afonso                           Michael J. Gehringer**                                   Evangelo J. Pal/is
     William R. Alex**(s)                        Silvana Gomez                                           Andrew Pasqua
     Patrick F. Allen                            Laura M. Gould(s)                                        Martha Pauleus(s)
     Odette G. Almeida                           Victoria Greene*                                         Maria Teresa Pego
     Juan Carlos Alonso                          Franca Grieco                                            Michele Francine Peoples
     Sharon C. Anglin                            Felicia A. W. Hamilton(s)                                Phoebe Christine Pierson
     Jack A. Aniboli                             Wendy Rene Hamilton                                      Steven Rallis
     James D. Apple III(s)                       Eric Oliver Harris                                      Anthony John Reece
     Ramon Luis Aquino(s)                       Mark Craig Hicks(s)                                      Tabatha Arnita Richardson
     Chris Audinis
                                                 Stephan E. Hoech***(s)                                  Merna Ann Ricks(s)
     Vernita Baker
     Bryan E. Bartley(s)                         Douglas John Holt                                       Joseph Anthony Riggio
     Gabriel Bercovici                          Michael Allan Housman                                    Wendy Anita Rivers
     Eileen Freda Berkowitz*                    Mark Iras                                                Matthew T. Roberts
     Pauline E. Best(s)                         Margarita Jimenez                                        Shawn C. Robinson(s)
     Edward R. Bogash*                          Charles Albert Johnson II                                Iliana Rebeca Rodriguez(s)
     Brenda Gail Boxley                         Joanne Joseph                                            Dawn Marie Rogers
     Maxine Brown                               Valerie Jovanovic                                        Richard Alan Schwartz
     Pauline Carides*                           Anastasia Leigh Karlis                                   Rick Scire
     Ronit Chromoy***                           Kimberly Ann Kearney                                     Titi 0. Shodunke(s)
     Raymond F. Cielo                           Brian P. Kelly**                                         Manny M. Silva**(s)
     Rosaria Cirrincione                        Chang Gun Kim                                            Raegan S. Smith
     John R. Corallo Jr.                        Peggy King                                               Stefanie Lynn Smoke(s)
     Esther Pauleus Couloute                    Joseph Manuel Labrincha                                  William H. Snellings**
     Donna Eileen Creanza*                      Robert William Lang*                                     Edward J. Starace Jr.
     Margaret Susan Crocker                     Carol Ann Layton                                         Karen Marie Stefaniak
     Donnette Andrea Cruickshank                Robert Anthony Luca(s)                                   Celeste Renee Stevens(s)
     Elizabeth Anne Czepiel**                   Debra Ann Lynch                                          Sean Richard Stevens
     Rimon Albert Dakar(s)                      Romaine S. Lynch(s)                                      Timothy Earl Stewart
     Charlene Davis                             John Maolucci                                            Nancy Sue Swain
     Warren Lee Davis, Jr.                      Estelle Lorraine Maynard                                 Nelson Tavares(s)
     Carol Defalco                              Audrine Andrea C. McDonald                               Patty Ann Thomas
     Brian J. Decker                            Louis D. McLaughlin(s)                                   Beverly Felecia Thompso n
     Alexander P. Devanas(s)                    Melissa Anne McShane(s)                                  Sherie Derece Thompson
     Michele DiGuiseppi
                                                Michael McAleavey                                        Thomas Gilbert Thorne
     Frank Richard Dimaria
     Katie D. Dortch(s)                         Leon Pierre Mettler*                                     Marie Delphine Toussain t
     Debra Marie Drew***                        Edward D. Miller(s)                                      Pieter G. Tsiknas*
     Chika N. Ezeokolie                         Lisa Ann Minatee                                         Elizabeth Valente
     Giacomo Fiorenza                           Eulalia Del Rocio Moreno                                 James Joseph Walsh
     Anna Marie Foschini                        Drew John Morrison(s)                                    Cynthia Arlene Walton***
     Wanda A. Freeman                           Lena Felicia Nevala                                      Wanda Maria Watson
                                                Amy Christine Northrop                                   Dennis A. Wright(s)
     *** Summa Cum Laude                        John F. O'Connell Jr.                                    Samuel A. Zamloot
     ** Magna Cum Laude
                                                                                                         Joseph Zuppa Sr.**
     * Cum Laude
     (s) Students Completing Degree
     Requirements During Summer, 1989




48
                   Case 3:23-cv-22130-MCR-ZCB           Document 155-13        Filed 03/14/25     Page 51 of 176




                                        Bachelor of Science
             • Ophelia Adams(s)             Geoffrey G. Gunn                       Shruti J. Patel**
           : Alizadeh*                      Sandra Gail Hansen                     Maria C. Peppard
              ·o Amato                      Deborah Jean Jacobson*                 Antonio B. Perez Jr.(s)
            . Ann Andrejkovics***           Kathryn Amidon Jimenez***              Marie Marjorie Pierre*
           . ·ne Andrieux                   Gurvindra S. Johal**                   Rebecca Porco
         . ;zra Atkins(s)                   John H. Johnson                        Grant Walter Rome
        :50n Dawn Backstrom***              Jean A. Jones**                        Diana Schaaf-Sullivan
           ne Barbera                       Diane Marie Kahler(s)                  David Sealy
           "n ia I. Benecke*                Madonna J. Klepp                       Clarence H. Seniors
         ·ueline E. Bambach*                Khee Ngiap Koh                         John Adeawlal Shivdat
           bert Brutus*(s)                  Mana/ Kotb                             Maureen Anne Smith***
         ·ueline M. Bushong                 Linda Jean Legan**
                                                                                   Rosanne E. Smulewicz
            Lee Carroll(s)                  Marie Mirlene Lindor
       ·er Charles Chapman                  Joan Murphy Loftus                     Dennis Patrick Smyth
        :Jeborah Christian(s)               Ellene Grey Long                       Edward C. Taylor*
          re Marie Colonna*                 Madeline R. Mastrangelo*               Mary A. Tihasek*
           cy Carol Compton*                Frank J. Mastromonica(s)               Georgina Ndjambi Tjipura
           e C. D'Souza*                    Sandra L. McCarthy***                  Pinkey C. Todman
          is Oliver Decker                  Linda Mary Michaels*                   Robert Michael Urban***
           t G. Donadio**                   Elaine Katie Motley*                   Merry D. Wagner**
            Maureen Earley-Taylor**         Nancy Ann Nelsen                       Donald J. Walsh
           n S. Edelman                     Thabo L. Ngubane                       Annetta E. Washer
        •orah L. Ferguson                   Nancy A. Noonan                        Kathleen Mary White
       Gaylene Finch***                     Stephen F. O'Conor***                  Stanley Witczak III
         :la M. Fliedner                    Alexander Coulter Oliphant IV***       Kerry Conley Wraga***
     - rtis Dionne Grimsley                 Sitanshu Sumant Parikh                 Beverly J. Zeiss**



                                      Bachelor of Social Work
                                                    Stephanie Joi Carson
                                                   Joanne Marie Graves**
                                                     Carol Ann Wing(s)


                                        Master of Science
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I!
                   Counseling Services                               Human Resource Management
,,                    Rose Christianna Pappas                                   Lynn Stanco Degen
                      Laura Ann Parr                                            John T. McNamara Jr.
                      Kim Tintle-Staats                                         Helen Marie Sorrentino
                      Joette Marie Vecchione                                    Joanne Tabeek
                      Barry E. Wolfson                                          Marian Zuilkarinani
   - Summa Cum Laude
   - . fagna Cum Laude
     ~ m Laude

,,     tudents Completing Degree Requirements During Summer, 1989




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                                Case 3:23-cv-22130-MCR-ZCB   Document 155-13   Filed 03/14/25   Page 52 of 176



                                                   SEPTEMBER
                                     SUNDAY                   MONDAY                      TUESDAY                WED)
          I                      NOTES:
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                                       TIME                    FOR                   FAMILY

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                                                                                    Move On                      1st
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                                                         Labor Day
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               Case 3:23-cv-22130-MCR-ZCB   Document 155-13   Filed 03/14/25   Page 53 of 176
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                        THURSDAY                   FRIDAY                      SATURDAY
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Case 3:23-cv-22130-MCR-ZCB   Document 155-13   Filed 03/14/25   Page 54 of 176
      Case 3:23-cv-22130-MCR-ZCB              Document 155-13     Filed 03/14/25    Page 55 of 176


  INTER-FRATERNITY COUNCIL

                                                                           The IFC is the governing body O:
                                                                        all the fraternities on Upsala's cam-
                                                                        pus. Its purpose is to help frater-
                                                                        nities become better related with the
                                                                        Upsala community. The IFC spon-
                                                                        sors fundraisers that benefit not just
                                                                        the fraternities, but the entire Up-
                                                                        sala Community.




                               IFC Officers




      INTER-SORORITY COUNCIL

    The ISC is the governing body of
- r of Upsala's sororities: Alpha
_ hi Delta, Gamma Sigma Sigma,
- au Beta Sigma, and Theta Beta
   amma. Its purpose is to foster uni-
- and sisterhood between the so-
"'!Jrities, promote friendship among
   psala Students, and improve var-
:aus social aspects of the Upsala
- mpus.


                                                         ISC Officers


                                                                                                           53
     Case 3:23-cv-22130-MCR-ZCB   Document 155-13     Filed 03/14/25     Page 56 of 176



                                                            ALPHA PHI
                                                              DELTA
                                                      Alpha Phi Delta sorority was founded in 1935
                                                    by seven women. It has gone through many
                                                    changes over the years, but continues to stay a
                                                    small group. Supporting each sister's individ-
                                                    uality, the sorority supports Upsala through the
                                                    varied activities of its sisters. They can be rec-
                                                    ognized by their green and white jackets.
                                                               "Alpha Phi Delta, Sorority
                                                              We'll be sisters through eternity!
                                                               Green and white, our colors bright,
                                                               Come and join our circle of light!"




                                                    Advisor:                   Rose Pappas
                                                    President:                 Jennifer Passaro
                                                    Vice-Pres.:                Debra McCoy
                                                    Treasurer:                 Nancy Compton
                                                    Secretary:                 Natalie Greer
                                                    Sister:                    Elizabeth Golden




54
      Case 3:23-cv-22130-MCR-ZCB                   Document 155-13   Filed 03/14/25   Page 57 of 176



    GAMMA
 SIGMA SIGMA
  In 1956, Upsala's only national service so-
rority was founded, the Gamma Sigma Sigma
Mu Chapter. Their main purpose is to provide
 ocial and service activities not only to the
 chool, but to the surrounding communities as
well. The Gammas sponsor annual events
 uch          DY Driv~, JJto-ad Dr:ue, ~ \ ating
Game, and tn ' Fam 'lJi, feu . On " an spnt the
             0
                                  a. ' ..h
~ ao~t ~ : /: c~1:f:' bem:,se !h:i~      hif.1/~° ud :~
and ft Mc pus. '81•11if' ~
          MOTTO: "Service, Friendship, and
Equality"
President: Donna Greene
Service Vice-Pres. : Evelyn Leadbeater
Membership Vice-Pres.: Edie Walters
Treasurer: Michelle DiGuiseppi
Secretary: Jessica Mansfield
Pa rliamentarian: Michael O'Callahan
.VIembers:
Barbara Bernieri
Arlen Davis
Lisa Doctor
Laura Gould
Liz Howatt
Su san Lightner
.\ifaurene Finnerty
Advisor: Lisa Smith




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 Case 3:23-cv-22130-MCR-ZCB                                 Document 155-13   Filed 03/14/25   Page 58 of 176


        TAU BETA
         SIGMA
   Tau Beta Sigma sorority was founded in
1921 at Upsala College to promote friend-
ship and goodwill and to lend support to its
activities and interests. The Taus are the
largest and the second oldest sorority on
Camp,      -· e;   ClJc~   !:/jiw:ti_t:,f   &J.,J.:/,;)(-   1,{ieir

 cola : t , b :own, nd                e us
 are proud of t eir c 01 tic achie ements
 and loo~ orward t thei manY,Activifies
.such s ca dy a.u'd             sal6-s -a-
 friend-a-flower sale, spaghetti dinner, Tau
 Happy Hours, and their annual Christmas
 Party. Finally, the Taus end the year with a
 closed formal in the Spring to welcome their
 new sisters into the sorority.



Advisor: Dr. Gary Porter                    Christy Moraites
President: Gina Cardinali                   Loli Moreno
Sisters:                                    Mylene Paquing
Charis Adami                                Teri Fego
Janien Barrios                              Deanna Revie
Elaine Characopos                           Llina Rogers
Gina Diamond                                Iliana Rodriguez
Rachel Goldman                              Jennifer Schoenek
Stephanie Holtzer                           Barbara Stott
Valerie Jonavic                             Nancy Swain
Carol Laginha                               Lori Vogel
Kyung Soon Lee
                                            Michelle Wicke/
Fabiana Machado
Michelle Martinez
Sandra Masias
America Molina




 56
Case 3:23-cv-22130-MCR-ZCB   Document 155-13     Filed 03/14/25         Page 59 of 176



                                            THETA BETA
                                              GAMMA
                                           Theta Beta Gamma, the oldest sorority on campus,
                                        dates its history from 1918, when a group of co-eds
                                        banded themselves together to promote and contribute
                                        their interests and activities to the social system of
                                        Upsala. Active in many campus functions, the Thetas
                                        are still able to sponsor their own activities such as
                                        candy s les ate-n~~ b k ~les, J:1-U eei• send-a-
                                        friend a flow r, fall Ro mal, 1Dredit • rd . lication
                                        Stan an{i.t O[lr 3aO "Tt,U" ·es" t ame a rew. The
                                        Thetas aibr, i slill a p'nl ·fP ue co radeship among
                                        its me· bers y t tress s he i d vidu lity of each sister
                                        who is u. •      y a c. ·     e e, ~ and respect
                                        for her friends . True to the Theta symbol, the acorn,
                                        which signifies strength, the spirit of unity among the
                                        members is fostered continually by weekly meetings,
                                        close contact with alumni, guaranteed "big sister" to
                                        help with college life "dilemmas" and the annual beer-
                                        becue in the summer. The Thetas have done much to
                                        add to happy memories of college life, not only for their
                                        own members, but for other students as well.
                                                Advisor: Joan Brown
                                                President: Patty Ann Thomas
                                                Recording Sec.: Carol Layton
                                                Corresponding Sec.: Judy Bromirski
                                                Treasurer: Sioux Klie
                                                Sisters:
                                                Annette Arocho         Maryann Kudlacik
                                                Carrie Banacki         Marina Logerie
                                                Lee Ann Burns          Nancy May
                                                Carla Carter           Traci Lynne Ramos
                                                Maribel Cortez         Leslie Unger
                                                I-ranees Ferrer        Danielle Washington
                                                Jennifer Heller




                                                                                              57
Case 3:23-cv-22130-MCR-ZCB                  Document 155-13         Filed 03/14/25       Page 60 of 176




                                  ALPHA KAPP A PSI
                             Alpha Kappa Ps • e Nat               '{es •              ss Fraternity,
                           was founded in Oa        r 190           Y                y. One of the
                           aims of AK Psi is         ucat         lie                  and demand
                           higher ideals and os ,er. scien       ~re                . Their radiant
                           colors of navy · . gefilav l1 ee,ntll2 "' n wa • ng,;:a ong the hallway
                           of the Business Department; truly a class on their own.




          THE CREED OF
         ALPHA KAPPA PSI

Alpha Kappa Psi recognizes that
We live in deeds, not years:
In thought, not in breath:
In service, not in figures on the dial.
We count the time by heart throbs,
When they beat for God, for man,
     for duty.
He lives most who thinks most,
Is noblest, acts the best.




                                                                                       President: Michele DiGuiseppi
                                                                                       Vice-Pres. (Int.): Bob Maclean
                                                                                       Vice-Pres. (Ext.): Michelle Ma rtine:
                                                                                       Treasurer: Stefanie Smoke
                                                                                       Rec. Sec.: Sutanah Whitfield
                                                                                       Corr. Sec.: Wanda Johnson
                                                                                       Master of Rituals: Sean Steve ns
                                                                                       Members:
                                                                                       Patrick Allen
                                                                                       Sue Bower
                                                                                       Carla Carter
                                                                                       Tom Curran
                                                                                       Joan Dolder
                                                                                       Laura Gould
                                                                                       Darren Gray
                                                                                       Gary Haith
                                                                                       Mark Hicks
                                                                                       Michelle Hicks
                                                                                       Brian ]oho
                                                                                       America Molina
                                                                                       Kassie Niece
                                                                                       Antonio Perez
                                                                                       Eric Reynolds
                                                                                       Merna Ricks
                                                                                       Sonya Ristau
                                                                                       Henrietta Smith
                                                                                       Celeste Stevens
                                                                                       Leon Taylor
                                                                                       Sherie Thompson


58
      Case 3:23-cv-22130-MCR-ZCB             Document 155-13        Filed 03/14/25     Page 61 of 176


            CAMEL DRIVERS
  The Camel Drivers started off as an intramural athletic team. In 1964, they were
recognized under the name "KJ;                           sents "ability, backbone, and
concentration." Their main purp                           ip, stimulate scholarship, and
develop character through soci'                            service activities. Because of
their high scholastic rating, po                          eld by its members in student
government and other clubs. Th        el-Bri            seen sponsoring events such as
the Blood Drive (with Gamma Sigma zgma) an        e Camel Driver Coloring Book. They
can be seen around campus in their green and white jackets. They are also proud of tying
as First Place winner of the 1988 Homecoming Banner Contest and the champs of the
Intramural Volleyball. "It is said: he who has learned to laugh at himself has truly
learned."
                                                                         Advisor: David Anderson
                                                                         President: Allyson Backstrom
                                                                         Vice-Pres.: Tammy Hackenberg
                                                                         Secretary: Dave Gorman
                                                                         Treasurer: Jackie Bushong
                                                                         I.F.C. Rep. : Matt Podracky
                                                                         Members:
                                                                         Gordon Astwood
                                                                         Tracy King
                                                                         Bill Conrad
                                                                         Kathy Carson
                                                                         Melissa King
                                                                         Carol Schaebel
                                                                         Immanuel Muremi
                                                                         Jae Mundy
                                                                         Glen MacAffee
                                                                         Jose Rodriguez
                                                                         Selma Ismene
                                                                         Elsabe Nel
                                                                         Nori
                                                                         Joan Dolder
                                                                         Sonya Ristau
                                                                         Sue Bower
                                                                         Tony Traversi
                                                                         Leon Mettler




                                                                                                        59
     Case 3:23-cv-22130-MCR-ZCB   Document 155-13   Filed 03/14/25      Page 62 of 176


                                                        RHO ALPHA
                                                           PHI
                                                         Rho Alpha Phi was founded in Septe
                                                      1937 (and re-established in 1984) by a g
                                                      of young men realizing that th • •
                                                      inter~t~ e e dit              from
                                                      existin .        iti        ·s th
                                                    . this fr           o              me
                                                      ture a             i                a
                                                      throug         -orgru:1. _ ""'-"'-'
                                                      further the chief interests of
                                                      the very beginning, this group has
                                                      itself a staunch supporter of all activi
                                                      college life. This organization is also
                                                      to show a good scholastic rating an
                                                      resentation in school athletics.
                                                     President: Carlo Caparruva
                                                     Vice-President: Kevin Egan
                                                     Treasurer: Mike Mischler
                                                     Secretary: Rick Labbe
                                                     Sgt.-at-Arms: Ed Miller
                                                     Hist. Sec.: Mike Surowiec
                                                     Soc. Dir.: John Beck
                                                     Members
                                                     Frank Dorfman           Jason Spages
                                                     Steve Grella            Robert Squeglia
                                                     Jim Fosbre              Matt Ahne
                                                     Lou Gagliardo           Sal Amato
                                                     Chris Hamler            Andre Anderson
                                                     Chris Hilleman          Jack Aniboli
                                                     Roy Jarrett             Tom Colavito
                                                     Bill Judge              Tommy Devaney
                                                     Gerry Krivda            Rick Hauser
                                                     John Ronneberg          Dennis Smyth
                                                     Gerard Sachewicz        Gregory Stevens




60
Case 3:23-cv-22130-MCR-ZCB   Document 155-13        Filed 03/14/25   Page 63 of 176


                                      THETA ALPHA
                                         SIGMA
                                  The Theta _..._... igma •    o-ed ti     ·t founded in
                               the Spring o           pur       to pro    t commuters
                               of the Ups l          s wit       gani          help make
                               them beco              ctiv        the c         mmunity.
                               President: L
                               Vice-Pres.: Joe Molinaro
                               Secretary: Jose Leites
                               Treasurer: Marlene Gutierez
                               Members:
                               Marcey Fordney
                               Robin Porter
                               Doug Potts
                               Steve Rallis
                               Ana Tome




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     Case 3:23-cv-22130-MCR-ZCB                      Document 155-13   Filed 03/14/25   Page 64 of 176


         THETA
        EPSILON
   The Theta Epsilon Omicron Iota fraternity, the
Olympian GODS, claims priority in age among
the social organizations at school. It dates its
history back in 1899 when the inhabitants of Mt.
Olympus, as the Old Main in Kenilworth came to
be called,           d an              selves the
"GODS.' ·             S is a           ial organ-
ization             s way              the social
spirit              d bin               bers with
true f               - to              otherhood,
pride, t             nd re             Theta Ep-
silon. Recognized by their paddles, the GODS
occupy a prominent place in the life of Upsala.
With its traditions and history embodying mys-
terious events, the GODS is the only fraternity to
survive inception. They have never been re-
established because the customs and ideals of old
Mt. Olympus have been retained.

Zeus: Dave Frisk
President: Willy Taylor
Vice-Pres.: Matt Gegenfurtner
            Rolf Figdore
Treasurer: Craig Cheetam
Secretary: Andrew Brady
Sgt.-at-Arms: Steve Leyendecker
Chaplain: Doug Kent
Brothers:
Matt Greene
Anthony Janish
Mike Janish
Pete Johnson
Pete Lutot
Case 3:23-cv-22130-MCR-ZCB   Document 155-13   Filed 03/14/25   Page 65 of 176
     Case 3:23-cv-22130-MCR-ZCB   Document 155-13   Filed 03/14/25   Page 66 of 176




64
Case 3:23-cv-22130-MCR-ZCB   Document 155-13   Filed 03/14/25   Page 67 of 176




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         Case 3:23-cv-22130-MCR-ZCB    Document 155-13       Filed 03/14/25   Page 68 of 176



                               OCTOBER
              SUNDAY                  MONDAY                             TUESDAY               WED~
         NOTES:

             TIME              FORINV OLVEME NT
         2                     3                                4                              5




         9                     10                               11                             12


                                Columbus Day
         16                    17                               18                             19
                                                                                               Wine
                                                                                               Cheese
                                                                                                      I
                                                                                                      l

         23                    24 Yearbook                     25                              26
                                      Pix                       Yearbook                              ij
                                                                                                      I
                                                                Pix                                   I
                        30            Halloween      31

    66

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        Case 3:23-cv-22130-MCR-ZCB   Document 155-13   Filed 03/14/25   Page 69 of 176



                                         1988
WED_                 THURSDAY                     FRIDAY                    SATURDAY

                                                                        1
    T

                6                         7                             8




2               13                        14                            15
                                                                        Homeco ming


                20                        21                            22
          d



                27                        28                            29
                Halloween                  Fall
                Party -    Pub             Break
     Case 3:23-cv-22130-MCR-ZCB   Document 155-13         Filed 03/14/25        Page 70 of 176


                  The Senior Class of 1989!
                                            Wine and Cheese Party in the Pub

                                         The Senior Class has been working up to this moment for four years.
                                      Every year, whether as freshmen, sophomores, or juniors, they have be
                                      the class to watch. This year they outdid themselves. The year began wi
                                      the traditional Wine and Cheese Party. They moved quickly along to ma _
                                      fund-raisers, from Halloween pumpkins to Easter baskets. A Food Dri _
                                      was implemented for Thanksgiving, soon followed by a Christmas Bazaar
                                      They had an activity for everyone - either knocking yourself out on th!
                                      volleyball court or matching wits in Pictionary. But whether you went
                                      play, be entertained, or just for the free food, you always had a good time.
                                      That was their motto - let the good times roll for now and always!




                                                 ,.,.
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        Knocking 'em dead on the courts!
68
Case 3:23-cv-22130-MCR-ZCB   Document 155-13    Filed 03/14/25     Page 71 of 176

                               Christmas Bazaar - Ho! Ho! Ho!




                              Pictionary - it looks like a, Oh! ...




                                                 Senior Class Officers

                                       President:           Stefanie Smoke
                                       Vice-President:      Wendy Hamilton
                                       Secretary:           Donna Creanza
                                       Treasurer:           Tabitha Richardson




                                                                                    69
     Case 3:23-cv-22130-MCR-ZCB   Document 155-13   Filed 03/14/25   Page 72 of 176

          The Student Government Association




                                                        The Executive Board




           S.G.A. President
               Tracy King

70
            Case 3:23-cv-22130-MCR-ZCB   Document 155-13   Filed 03/14/25           Page 73 of 176




                                                           The S.G.A.
                                                             Senate
                                                           Sr. Class Pres.: Stefanie Smoke

                                                           Sr. Class Senator: Melissa McShane

                                                           Jr. Class Pres.: Pete Lutot

                                                           Jr. Class Senator: Kevin Phalon

                                                            Soph. Class Pres.: William Judge

                                                            Soph. Class Senator: America Molina
     e Executive Board                                      Soph. Class Senator: Leann Burns

                                                            Fr. Class Vice-Pres. : Brenda Crespo
 _sident:          Tracy King
                                                            Humanities Division Senators:
 u:.e-President:   EdBogash
m etary:           Nat alie Greer                               Donnette Cruickshank

-~asurer:          Bob Luca                                      Laura Zerbian
- orney General: Carlo Caparruva                            Social Science Division Senators:
    on:            Elizabeth Czepiel
                                                                 Natasha Zivanov
                   Allyson Backstrom
                                                                 Wendy Hamilton
                   Kathy Carson
 :lblications:     Kevin Egan
- ctions:          Loly Moreno
   gramming Assistants:
    Gina Ulysse
    Melissa King

- ~ isor: David R. Anderson




                                                                                                     71
           Case 3:23-cv-22130-MCR-ZCB   Document 155-13    Filed 03/14/25         Page 74 of 176

                              The Pre-Law Club




     Officers                                                           Members
                                                                   President: Lori Cameron
                                                                   Vice-President: Ed Bogash
                                                                   Secretary: Melissa McShane
                                                                   Treasurer: James Johnson

                                                                   Carlo Caparruva               Joe Molinaro
                                                                   Pauline Carides               Diane Smith
                                                                   Marlene Gutierrez             Tracy King
                                                                   Joann Joseph                  Tracy Marsha ll
                                                                   Shannon McGhee                Liz Pappas
                                                                   Liz Valente                   Maxine Ramhi
                                                                   Eric Orseck                   Duarte Cardo
                                                                   Hercules Vogratzidakis

                                                                   Advisor: Prof. Art Paulson



                                                      The purpose: To establish an extracurricular outlet far


     -•-
      ,-
      1
                                                   trips to the Law School Forums in New York City anti
                                                   Washington, D.C. for prospective law students. We al
                                                   assist students in obtaining information which is pertinent ta
                                                   legal studies.




72
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Case 3:23-cv-22130-MCR-ZCB   Document 155-13    Filed 03/14/25         Page 75 of 176


       he Political Science Club




                                                             Members
                                                      President: Ed Bogash
                                                      Vice-President: Pauline Carides
                                                      Secretary: Natasha Zivanov
                                                      Treasurer: James Johnson
                                                      Advisor: Prof. Lee

                                                      Laura Zerbian          Glen Darden
                                                      Lori Cameron           Melissa McShane
                                                      Michael McGuire        Carlo Caparruva
                                                      Diane Smith            Shannon McGhee
                                                      Joanne Joseph          Liz Valente
                                                      Richard Schwartz       Tavia Fisher
                                                      Eric Orseck            Steve O'Conner
                                                      Duarte Cardoso         Orlando Lugordo
                                                      Tracy King             Danni Washington
                                                      Tom Curran             Brian Johal



                                                 The Purpose: To encourage student inter-
                                               action, i.e. - debates. Activities include
                                               speakers, lectures, trips, Presidential Mock
                                               Election, voter registration, trip to the U.N.,
                                               and guest speakers.




                                                                                                 73
          Case 3:23-cv-22130-MCR-ZCB     Document 155-13         Filed 03/14/25      Page 76 of 176




                                                                               The
                                                                             Literar
                                                                             League

                                       The Literary League was founded in the fall of 1988 by Kathy Carson
                                    Gina Ulysse. They wanted to create an outlet for English majors and trn
                                    interested in literature. Over the past year, they've gone to a poetry fes ti
                                    in Waterloo Village and had two poets from there read at Upsala - Da
                                    Lusk and Michael Weaver. They've sponsored films with the PA's
                                    FOCI, an open poetry reading featuring students and facuity, and trip_
                                    Broadway plays like "Speed the Plow". The year's events culminated
                                    their winning the most outstanding NEW organization award of 1988- •




             Kathy Carson                                   Members
              President
                                    Kathy Carson                          Mike O'Callaghan
                                    Bill Conrad                           Phoebe Pierson
     Officers:                      Donnette Cruickshank                  Tabitha Richardson
     President: Kathy Carson        Vivian Fernandez                      Wendy Rivers
                                    Elyssa Gunderson                      Kenneth Roberts
     Vice President: Wendy Rivers   Alia Jebara                           Kirsten Sejda
     Secretary: Dave Macheska       Mirlene Lindor                        Gina Ulysse
     Treasurer: Ken Roberts         David Macheska                        Kevin Yoshioka
     Advisor: Louise Simons         Beth Marcazzo                         Daryl Smith
                                    Ennio Martinez                        Brenda Crespo
                                    Debbie McCoy




74
Case 3:23-cv-22130-MCR-ZCB   Document 155-13      Filed 03/14/25         Page 77 of 176

                   Business Club




        Officers




                                                               Members


                                     President: Pat Demara
                                     VP: Joe Grandinetti
                                     Treasurer: Ed Bogash
                                     Secretary: Cheryl Franchino

                                     John Wheeler, Wendy Hamilton, Joanne Joseph, Stefanie
                                     Smoke, Mike Verdi, Kevin Yoshioka
                                     *Despite the efforts of the yearbook staff, we were unable to
                                     obtain the names of any other members.




                                                                                                     75
     Case 3:23-cv-22130-MCR-ZCB          Document 155-13      Filed 03/14/25     Page 78 of 176



                    Psychology Club




                                                                          Officers
                                               President: Dawn Frenzel
                                               Secretary: Laura Zerbian
                                               Treasurer: Cheryl Franchino
                                               Natasha Zivanov                 Matthew Podracky
                                               Elizabeth Golden                Charles Bell
                                               Ed Bogash                       Teress Moody
                                               Marc Barfield                   Jewell Mack
            MC156
                                               Sue Klie
        "Tipping the scales of sanity"            The purpose of the Psychology Club is to get students -
                                               effectively communicate with one another in a socially ll-
                                               sponsible way. Psychology is the study of the mind and over
                                               behavior. The club allows individuals to express and share th
                                               emotions and thoughts with fellow students, which in tu
                                               creates a relaxed atmosphere and an enjoyable learning
                                               perience for all. The club's activities consist of speakers, le
                                               tures, and trips which are relevant to the field of psychology




76
             Case 3:23-cv-22130-MCR-ZCB                   Document 155-13             Filed 03/14/25   Page 79 of 176




                                            Forensics

                                  ATIONAL FORENSIC A
                                T ·O U R N i\ ~1 E N -I
                                AT UPSALA COLLEGE
                                APRIL 20th. - APRIL 24th




                                                         I

                       David Anderson and Deborah Heilbrun




   Forensics is competitive public speaking and oral interpretation of drama. The
    ocal Vikings" were formed in January of 1988 by David Anderson. He had competed
    the sport at Montclair State College and Ohio University. Together with Deborah
~eilbrun, they sought to develop the public speaking talents of Upsala students. A lot
                                                                                                 Kathy Carson, Captain
  •time was spent on the road, in hotels, and at strange schools. Last year the team made
                                                                                                 Elizabeth Golden
 - to the National Forensic Association at Arizona State University and this year we
                                                                                                 Tracy King
  a e the proud hosts of the tournament. It is the culmination of a year's preparation of
                                                                                                 Spencer Snygg
• ensicators across the country and a lot of hard work on Upsala's part. It was an
                                                                                                 Gina Ulysse
a.citing five days and came off well due to the efforts of the campus-wide community.
   Sadly, this year the team is without David Anderson. He will be missed and
~ embered, for he brought a lot of skill and enthusiasm to the Vocal Vikings. He made
 - a valuable experience for all concerned.



                                                                                                                         77
     Case 3:23-cv-22130-MCR-ZCB   Document 155-13   Filed 03/14/25     Page 80 of 176


       Tri-Beta,
                                                                      Members
                                                                      Sham Ramrattan, Pres.
                                                                     Gurvindra Johal
                                                                     Mirline Lindor
                                                                     Marie Pierre
                                                                     Bill Judge
                                                                     Jim Choi
                                                                     William Walton
                                                                     Mike Verdi
                                                                     Kyung Soon Lee
                                                                     Alia Jebara
                                                                     John Shivdat

                                                                     Advisor: Prof. Sook Choi




      Upsala College Gospel Cho
Members                            ----- t t             J
Stacy Fannin, Pres.               •       0
Timothy Collier, Vice
Pres.
Romaine Lynch, Sec.
Verneta Baker
Latrice Boyd
Jacy Davis
Wendy Morris
Granger Kee
Darren Gray
Tereasa Randolph
Michelle Brown
Mark Mosely
Carine Antione

Advisor: Johnetta Nelson




78
             Case 3:23-cv-22130-MCR-ZCB     Document 155-13          Filed 03/14/25    Page 81 of 176

                     Learning Center




  Brothers                      Sham Ramrattan                             Phoebe Pierson
                                Zack Snygg                                 Shruti Patel
• y Carson                      John Shivdat                               Wendy Rivers
 nette Cruickshank              Wilsie Sejour                              Richard Schwartz
  beth Czepiel                  Elizabeth Golden                           Tony Traversi
ert Lang                        Michael O'Callaghan                        Florence Lotz
 ·1yn Naar                      Gina Ulysse                                Claire Poisbeau
 ~an Backstrom                  Brenda Crespo                              Kyung Soon Lee
   indra Johal                  William Conrad                             Alia Jebara



                                              Deborah Heilbrun
                                                  Director                             -
                                                    Quiet!!!
                                             Learning in Progress!




                                                                                                        79
     Case 3:23-cv-22130-MCR-ZCB   Document 155-13              Filed 03/14/25             Page 82 of 176



                     Upsalite 1989!
                                                                            Staff:
                                    Editor-in-Chief: Nancy Compton
                                    Assistant Editor: Wendy Hamilton
                                    Layout Editor: Kathy Carson
                                    Photography Ed.: Wendy Rivers
                                    Advisor: Kristen Perrson
                                    Melissa King      Stefanie Smoke
                                    Rich Schwartz Donna Creanza
                                    John Cullen       Fran Ferrar
                                    Chuck Cole        Maribel Cortez
                                    Loly Moreno       Mike O'Callaghan
                                    Kirsten Sedja     Elyssa Gunderson
                                    Donnette
                                    Cruickshank
                                    *A special thanks to all those who donated photos and bought boosters. We appreciate your help-

                                       Making a yearbook is a crazy process that starts with a lot of brainstorming
                                    creative planning and ends up with photos flying everywhere and copy bu
                                    under something - no one knows where. There were setbacks - film got ru i
                                    in the developing process and as deadlines came closer, it became crazier u
                                    finally, the end was in sight. The yearbook would be done - maybe not on ti
                                    but after four years at Upsala what did you expect? So enjoy - look back
                                    memories of one of the most special parts of your life. Somehow, I don't think
                                    of us could forget a thing ...




80
 Case 3:23-cv-22130-MCR-ZCB          Document 155-13        Filed 03/14/25   Page 83 of 176




                     Wendy is getting ready for a group photo session
                     - or is it musical chairs?




              Taking pictures for the yearbook is a year-round job!




                                          I
The "photographers" take a break and pose for the camera.
                                                                                              81
     Case 3:23-cv-22130-MCR-ZCB   Document 155-13         Filed 03/14/25            Page 84 of 176




                                                                            FOCI
                                                        Editor: Gina Ulysse
                                                        Asst. Editor: David Macheska
                                                        Staff: Estelle Maynard
                                                               Debbie McCoy
                                                               Kyung Soon Lee
                                                               Gary Shainheit
                                                               Tony Traversi
                                                        Advisor: Del Earisman




                                                                      "The Question"

                                       When it hurts you to think and it hurts you to know
                                       and it hurts you just to believe
                                       and you lie there alone in the darkness
                                       reminding yourself to breathe

                                       And the one that you Love and the one that you Hate
                                       aren't two people, but the same
                                       and your body shakes and your head explodes
                                       and you don't even know your name

                                       And then Memory cuts you subtly
                                       like a razor blade ...
                                       deep, sometimes going unnoticed
                                       until the wound's already been made

                                       When the roof is coming down on you
                                       and the walls are closing in
                                       and the only tangible thoughts you have
                                       are those of where you've been

                                       When vitality is running low
                                       and pain is running high
                                       and all the thorns take over
                                       and all the roses die

                                       And the weather's always cold and dark
                                       and no one stops the rain ...
                                       Is it really better to have Loved and lost
                                       when it causes so much pain??


                                                                          Sioux Klie




82
      Case 3:23-cv-22130-MCR-ZCB         Document 155-13   Filed 03/14/25   Page 85 of 176



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s                                                                                   z
                                                                                     E
                                                                                     T
L                                                                                    T
A                                                                                    E
--:-r: Phoebe Pierson
- Editor: Michael O'Callaghan
                                                                     STAFF
   t: Patrick Allen                                        David Macheska
 . Editor: Sean Stevens                                    Richard Schwartz
                                                           Zack Snygg
·-ors: James Lovell, Deborah Heilbrun,                     Wendy Rivers
       and Steve Krinsky                                   Florence Brooks
                                                           Waindel Bel Zaire
:ribution: Theta Epsilon
                                                           Kathy Carson
                                                           Donnette Cruickshank
                                                           Wendy Hamilton
                                                           Amy Hemeleski
                                                           Elizabeth Czepiel
                                                           Michele Lake
                                                           Sham Ramrattan




                                                                Mike and Phoebe
                                                                   "editors"

                                                                                             83
     Case 3:23-cv-22130-MCR-ZCB                Document 155-13   Filed 03/14/25     Page 86 of 176



                                                                   Bookstore
                                                          Staff:
                                                   Manager:
                                                   Dave Gorman
                                                   (see left)
                                                   Jennifer Heller
                                                   William Judge
                                                   Maryann Kudlacik
                                                   Sophia Merunka
                                                   Kevin Phalon
                                                   Jennifer Schnoenek
            W',:;tq,1-:1 · .                       Sean Stevens
                                         __/       Dannielle Washington
       •          ~            "'·"- -             Leslie Unger




                                                                                     Upsala's own free-form radio s

           WFMU                                        91.1                       tion! Next year, Ken Freedman, 5
                                                                                  tion Manager (below) and his er,
                                                                                  will be relocating to Avatar House
                                                                                  Springdale Ave. (see left). The b
                                                                                  may stop at the Business Office,
                                                                                  at WFMU the music never stops . .




84
          Case 3:23-cv-22130-MCR-ZCB     Document 155-13         Filed 03/14/25     Page 87 of 176



                       WORKSHOP90                                           Cloud 9 by Caryl
                      Electra by Sophocles
                       (Feb. 23-27, 1988)                                       Churchill
  restes: Jeff Prosetti          Choregus: Charis Adami                    (April 12-16, 1988)
3ectra: Elyssa Gunderson         Chrysothemis: Kirsten Sjogren
Servant of                       Clytemnestra: Rachel Goldman           Act One:
  restes: Steven Nolan           Aegisthus: Mark Williams
:Jiorus: Leigh Burke and         Pylades: Kevin Phalon                  Clive: Steve Nolan
• ,mifer Schoenek                                                       Betty: Norman C. Richter
                                                                        Joshua: Rich Simcoe
                                                                        Edward: Gina Diamond
                                                                        Victoria: As herself
                                                                        Maud: Pauline Carides
                                                                        Ellen and
                                                                        Mrs. Saudners: Kirsten Sjogren
                                                                        Harry Bagley: Mark Williams

                                                                        Act Two:

                                                                        Betty: Gina Diamond
                                                                        Edward: Norman C. Richter
                                                                        Victoria: Pauline Carides
                                                                        Martin: Steve Nolan
                                                                        Lin: Kirsten Sjogren
                                                                        Cathy: Rich Simcoe
                                                                        Gerry: Mark Williams




                                                                                                         85
       Case 3:23-cv-22130-MCR-ZCB    Document 155-13 Filed 03/14/25 Page 88 of 176
                              An. American  Playwright's Festival
                                         October 11-15, 1988
     The Blue Hour by David Mamet    Cold:                                    Ludlow Fair by Langford Wilson
     Prologue: Norman C. Richter       A: Jeff Prosetti                       Rachel: Charis Adami
     Doctor:                           B: Norman C. Richter                   Agnes: Gina Diamond
       Woman: Jennifer Schoenek      The Hat:                                 Open Admissions:
       Doctor: Kevin Phalon            Customer: Kathy Carson                 Alice: Elyssa Gunderson
     Two: Michele Martinez             Saleswoman: Rachel Goldman             Calvin: Wayne Smith
                                     Sermon: Norman C. Richter




                                                                    Laundry and Bourban
                                                                    by James McClure
                                                                    Elizabeth: Dierdre Yates
                                                                    Hattie: Jennifer Schoenek
                                                                    Amy Lee: Charis Adami




86
         Case 3:23-cv-22130-MCR-ZCB   Document 155-13          Filed 03/14/25   Page 89 of 176



. Exchange by Kevin Wade
   ary 28 to March 4, 1989

                                           Philip: Jeff Prosetti

                                           Micheal: Wayne Smith

                                           Lisa: Jennifer Schoenek




                                          Extremities by William Mastrosimone
                                          April 18-22, 1989

                                          Marjorie: Elyssa Gunderson
          Lone Star                       Raul: Jon Ronneberg
          December 6-10, 1988             Terry: Charis Adami
                                          Patricia: Elania Lewis
          Roy: Jeff Prosetti
          Ray: Wayne Smith
          Cletis: Norman C. Richter



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     Case 3:23-cv-22130-MCR-ZCB   Document 155-13   Filed 03/14/25   Page 90 of 176




88
Case 3:23-cv-22130-MCR-ZCB   Document 155-13   Filed 03/14/25   Page 91 of 176




                                                                                 89

                                                                                      ......
     Case 3:23-cv-22130-MCR-ZCB       Document 155-13   Filed 03/14/25   Page 92 of 176




                    Student Activity
                        Awards
               SENIOR CLASS                             THETA ALPHA SIGMA
               Wendy Hamilton                           Joe Molinaro
               Ste[anie Smoke                           ADMISSIONS ASS'T
               Donna Creanza                            Warren Davis
               GAZETTE                                  Brian Bartley
               Phoebe Pierson                           BLACK STUDENT UNION
               Michael O'Callaghan                      Mark Barfield
               Wendy Rivers                             Donnette Cruickshank
               GAMMA SIGMA SIGMA                        TRI-BETA
               Lisa Doctor                              Kyung Soon Lee
               Evelyn Leadbeater
                                                        Sham Ramrattan
               INTER-FRATERNITY                         Michael Verdi
               COUNCIL                                  Marie Pierre
               Rolf Figore                              PROGRAMMING
               Allyson Backstrom
                                                        Gina Ulysse
               LATIN AMER. UNION                        Melissa King
               Antonio Perez
               Gabriella Juarez                         FORENSICS
                                                        Kathy Carson
               CAMEL DRIVERS
               Tracy King                               *WHO'S WHO*
               Matthew Podracky                         Allyson Backstrom
               RACHEL CARSON CLUB                       Brian Bartley
               Thomas Curran                            Edward Bogash
               Brian ]oho                               Nancy Compton
               INTERNATIONAL STUDENT                    Donnette Cruickshank
                                                        Elizabeth Czepiel
               ORG.                                     Warren Davis
               Kurt Skrete                              Wendy Hamilton
               Florence Lotz                            Gurvindra Johal
               PRE-LAW CLUB                             Robert Luca
               Lori Cameron                             Shruti Patel
               UPSALITE                                 Phoebe Pierson
               Kathleen Carson                          Wendy Rivers
               Wendy Hamilton                           Richard A. Schwartz
               Richard Schwartz                         Stefanie Smoke
               Wendy Rivers
               Donnette Cruickshank




90
                 Case 3:23-cv-22130-MCR-ZCB                               Document 155-13     Filed 03/14/25         Page 93 of 176

   Talkin8 to myself and feeling old
   Sometimes I'd like to quit,
   >lathing ever seems to fit,
   Hanging around, nothing to do but frown,
   Rainy clays and Mondays always get me down.
                                                       - The Carpenters
                                                       "Rainy Days and Mondays"                       David R. Anderson
                                                                                                              1958-1989
.a.,;....,.ai;;;;;;;.sliiiii,:;l.._.,..,:L:W, ''
                                                   -                                    Upsala will not seem the same since the loss of our Student
                                                                                     Activities Director, David Anderson, on June 4, 1989. His
                                                                                     passing was felt deeply by those who knew him well and
                                                                                     loved him dearly. David was definitely a man with his own
                                                                                     views, opinions, and judgments, but all will agree that
                                                                                     David's sincere and honest commitment to Upsala, and
                                                                                     especially to the students, was appreciated and treasured by
                                                                                     everyone.
                                                                                        David attended Montclair State College and received his
                                                                                     bachelor's degree in 1980. In 1983 David received his Mas-
                                                                 I                   ter's Degree zn Educational Administration from Ohio Uni-
                                                                                     versity.

                                                          I
                                                        I .- -
                                                                                        David came to Upsala in 1986 to become the Director of
                                                                                     Student Activities. From that day on David's pursuit of
                                                                                     excellence and his deep commitment to the college would be
                                                                                     felt by all. He formed the first Forensics Team at Upsala
                                                                                     College and coached this team to third place in the New
                                                                                     Jersey State Tournament. Soon after, his team took 21st place
                                                                                     in the National Forensics Tournament 1988, division of
                                                                                     small colleges, held at Arizona State University. He was also
                                                                                     responsible for the National Forensics Tournament being
                                                                                     held at Upsala this past April.
                                                                                        David was a remarkable man whose commitment and
  A Walk in the Park                                                                 accomplishments will never be forgotten. Our love and our
                                                                                     tears are extended to his family, and our thanks, respect, and
   'n the park,                                                                      admiration for David will never be lost.
   • pass the time away                                                                                                             - Tracy King
   :...wing old experiences
   rn a new way.

  ; sit by the stream (which flows on forever)
  : ru n in the field,
  -:ake dizzying spins on the merry-go-round,
  And stand and laugh as the leaves float down
   each leaf a moment of passing years)
  : do n't think of growing old . ..
  .-\nd parting this place,
  .i.5 I know I must.

     nstead, I stand (not counting the leaves)
   :...:iughing at the little children playing by the stream.
  C>nce I talked to the children,
  .-.nd told them I was a painter who wanted to fall in love.
   -:hey told me
   -:hey were little children who wanted to be birds.
   -: hard rain fell gushing through the drain pipes.
   -:he colors of my imaginary canvas washed away in the stream.
   -:he children flew away.
   • ·toad in the rain -
    ·nloving;
   :Jnloved.
                                                              - David R. Anderson




                                                                                                                                                      91
      Case 3:23-cv-22130-MCR-ZCB   Document 155-13   Filed 03/14/25   Page 94 of 176

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     SALA•UPS
     ALA•




92
Case 3:23-cv-22130-MCR-ZCB   Document 155-13   Filed 03/14/25   Page 95 of 176
Case 3:23-cv-22130-MCR-ZCB   Document 155-13   Filed 03/14/25   Page 96 of 176
Case 3:23-cv-22130-MCR-ZCB   Document 155-13   Filed 03/14/25   Page 97 of 176

                                  UPSALA•UPSALA•UPSALA•UPSALA•UPSA-
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                                                                 SALA




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Case 3:23-cv-22130-MCR-ZCB   Document 155-13   Filed 03/14/25   Page 98 of 176

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96
Case 3:23-cv-22130-MCR-ZCB   Document 155-13   Filed 03/14/25   Page 99 of 176
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                 Case 3:23-cv-22130-MCR-ZCB       Document 155-13   Filed 03/14/25    Page 100 of 176
~                                                                                                                I



                                       NOVEMBER
                           SUNDAY                    MONDAY                          TUESDAY            WE
                                                                           1                            2



                                                         --


                      6                       7                            8                            9    I




    I:




                      13                      14                           15                           16



                      20                      21                           22                           2
     II
                                              Faculty / Student                Yearbook
                                              Volleyball Game                  Pix

         I
                      27                      28                           29                           3
         !



                                              Dry Campus

         II




                 98


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Case 3:23-cv-22130-MCR-ZCB   Document 155-13   Filed 03/14/25    Page 101 of 176




                             1988
        THURSDAY                    FRIDAY                      SATURDAY
   3                         4                           5



   10                        11                          12
   Win Lose
   Or Draw
                             Veteran's Day
   17                        18                          19




  24                         25                         26


   Thanksgiving
   NOTES:


   TIME                          FOR                    FUN

                                                                                   99
  Case 3:23-cv-22130-MCR-ZCB   Document 155-13   Filed 03/14/25   Page 102 of 176



                                           SPRING
                                                                                    E




100
            Case 3:23-cv-22130-MCR-ZCB                     Document 155-13   Filed 03/14/25   Page 103 of 176




  Spring is the season of new life and new beginnings. The rain
 --hes away all cold and new life appears everywhere.
 It's said that all good things must come to an end and the
~ g semester is the end of every academic year. At Upsala,
 _ follow the tradition of celebrating the end of the year and the
   arture of the senior class.
 Yet, as in nature, Spring is a time of new beginnings; so it is
   e at Upsala. Spring Week sets aside a special time in which
   may welcome our upcoming seniors to take the place of their
 _decessors.
  The glowing embers of the burning "U" ignite the sky in
     es for miles. As students burn the midnight oil for finals,
• sala College becomes the "hot spot" for activities.
 • e welcome you to celebrate with us each year as we revel for
    coming of Spring. Spring Week - a time of sad good-byes
     a time for the vibrance of new life to take its place among
    old.

                                - Michael S. O'Callaghan




                                                                                                                101
Case 3:23-cv-22130-MCR-ZCB                 Document 155-13    Filed 03/14/25   Page 104 of 176



                          Homec~e~ing
                                                               A time of remembrance,
                                                               Where past becomes present,
                                                               Where Alumni come home.
                                                               Memories resurface -
                                                               Yesterday again.
                                                             , Upsala in October,
                                                               Coming home again.

                                                               by Michael O'Callahan




     Upsala's 1988 Homecoming celebration honored
  the Alumni Association. Along with other events
  and festivities was the flea market held in the gym.
  At the end of the booths were refreshments. Stu-
  dents, faculty, staff, alumni, and guests sat down
  and talked with old and new friends. Among the
  festivities was the annual tailgate party where Dean
  Titus' group won First Prize.




102
 Case 3:23-cv-22130-MCR-ZCB    Document 155-13       Filed 03/14/25     Page 105 of 176




                      'The 1988 Homecoming Court
                    members were elected by the stu-
                    dent body in the spring of 1988
                    and were announced on the last
                    night of Spring Week. The crown-
                    ing took place during half time fes-
                    tivities. (Not Shown: Allyson
                    Backstrom and Matt Roberts.)



                                                                      Carol Layton
                                                                      Sean Stevens




Deanna Revie               Donnette Cruickshank                   Wendy Hamilton
Dennis Smyth                  Warren Davis                          Jose Alicia

                                                                                          103
  Case 3:23-cv-22130-MCR-ZCB   Document 155-13   Filed 03/14/25   Page 106 of 176



                     Banner Parade
                             Winners




  First Place:    Camel Drivers
                  Theta Beta Gamma
  Second Place:   Tau Beta Sigma
  Third Place:    Theta Alpha Sigma


                                                       CONGRATULATIO_


104
        Case 3:23-cv-22130-MCR-ZCB             Document 155-13   Filed 03/14/25   Page 107 of 176




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Faculty and Administration joined the spec-
ors in the stands to cheer Upsala's football
m. Although the Vikings did not walk away
  winners, they played a good game and
 e the opposition a run for the money.
sala's Gospel Choir gave their usual ex-
lent performance in the College Center
 nge.
 Case 3:23-cv-22130-MCR-ZCB   Document 155-13   Filed 03/14/25   Page 108 of 176




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106
Case 3:23-cv-22130-MCR-ZCB    Document 155-13       Filed 03/14/25   Page 109 of 176




             Seniors' (Real) Wirie & Cheese Party
                                                                                       107

                                     ) __ _
      Case 3:23-cv-22130-MCR-ZCB                 Document 155-13   Filed 03/14/25   Page 110 of 176



                  HALLOWEEN



                                                 ;//fl   ...
                                             e
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    Pictured Above Left: James
  Fosbre and Stacy Fannin compete in
  Saga's (oops!) Marriott's pie-eating
  contest.
     Pictured Above Right: Winner
  Again!!! Allyson Backstrom poses in
  her Mr. Potato-Head costume. 1988
  was her fourth (and hopefully last)
  time to win the prize for best costume.
  Past winners are 1985 - a horse
  (with Gordon Astwood), 1986 - an
  Idaho car bumper, and 1987 - a test
  tube baby.
    Pictured Right: Stefanie Smoke
  puts on the finishing touches so she
  can blend in with the campus bozos!



108
Case 3:23-cv-22130-MCR-ZCB   Document 155-13   Filed 03/14/25   Page 111 of 176




                       Trip to: The
                       Halloween Parade
                       Greenwich Village, NYC




                                                                                  109
      Case 3:23-cv-22130-MCR-ZCB   Document 155-13   Filed 03/14/25   Page 112 of 176



                                             Student-
                                   volleyball




110
Case 3:23-cv-22130-MCR-ZCB   Document 155-13   Filed 03/14/25   Page 113 of 176




  Faculty
                     Basketball




                                                                                  111
  Case 3:23-cv-22130-MCR-ZCB   Document 155-13   Filed 03/14/25   Page 114 of 176


                               BOXER




112
Case 3:23-cv-22130-MCR-ZCB   Document 155-13   Filed 03/14/25   Page 115 of 176
                                                                                              -
             SHORTS




                                                             One of the last major pub
                                                          events before it went dry was
                                                          the "Boxer Shorts" Contest held
                                                          on November 10. As can be seen
                                                          in the above picture, owning a
                                                          pair of boxer shorts was not a
                                                          requirement. This imaginative
                                                          contestant used his "good old
                                                          American know-how" and
                                                          made a pair of his own out of
                                                          briefs!




                                                                                        113
  Looking Back
Case 3:23-cv-22130-MCR-ZCB       Document 155-13              Filed 03/14/25         Page 116 of 176


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          IS
        ,,.,
                UP                                             TIE
  NeJ?er          .
                4g:JjlJ         Over the past four years, the Gazette has served as an
                              important forum for campus happenings and acted as the
                              voice of the student body. The newspaper had had its prob-
                              lems, with a fluctuating staff and an erratic publishing
  M•i fl £t\le1\tace          schedule, but each new editor and staff has tried to present
                              Upsala to us as it really is. From freshman year to Senior
                              year, we've weathered a strike, three presidents, fights in the
                              pub (until we went dry), good times, bad times, and times

   Vik,-"1 ..                 we'll never forget.


      - • 9s  Upsala --Kick's Offthe New Year

  US News & World Report                                                                         . · e~
  ranks Upsal~ 8th out of 7 4                                                             60
                                                                                            \':I : 0 4°
  Co              ... .             Never Forget                              ...,.\)            ~O           ,
     m11111ters Ti ·.   . -          ~tl":\ot\         . ~ ~o~s
     .           'he Mobtle M ---. ""'o'( _.·~(\~,s
               .             a1or1ty. -;;,· ~ o\           . .,
  I've Been There And            . ·. e u~'i, -what is A,M.M,O, .
  There Ain't No Turninq Back 't~       tudenls needs
         - as               BSU n,eets s -
  Views varY       ned                                 ~,o(\             •

     ·ke is postpo    'f,6."'G~
   s_tr1         fNHy S.           Presidehtiaf S
  Al(hic)co~ol .•. •    'HOUto •You Continuingear
  Aware(h1c)ness,         S OC         BE A
  ~eek       _   wL     h... II the good times none.
  1s ·a success ,, nere -_QVe a · - ·~            hR                                                    .1
                                              90 Presents...                    &/tt.                RuoO1P
   Upsala      lcjd -                Workshop .    .                                 e,. G            sricketlO
 Biological        ~ '1k.                    Judicial 8                          .              Oe.s It' •
   Society,           At,'JJgs.. o                             •      oard Meeting Held e,o,.e -
                        oi,e      'IJ llJe                                                 •                  Co
Beta Beta Beta
Case 3:23-cv-22130-MCR-ZCB   Document 155-13   Filed 03/14/25   Page 117 of 176




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Case 3:23-cv-22130-MCR-ZCB   Document 155-13   Filed 03/14/25   Page 118 of 176




117
Case 3:23-cv-22130-MCR-ZCB   Document 155-13   Filed 03/14/25   Page 119 of 176




                                                                                  116
  Case 3:23-cv-22130-MCR-ZCB   Document 155-13   Filed 03/14/25   Page 120 of 176



                               WIRTHS
         "The Wirths campus is a branch campus of Upsal
      College accredited by Jhe Middle States Association
      Colleges and Schools and authorized by the New
      Jersey Board of Higher Education to grant tHe
      Associate in Arts and the Associate in Science
      degrees. Currently, eight programs leading to these
      degrees are offe . Students at the Wirths Campus
      also can 'Gompt the freshman and sophomore year:
      of a four-year b alaureate program ·and can
      continue at Upsala's East Orange campu or transfe
      to another cotfege. In addition, the campus provides
      non-credit community service programs for the
      residents of Sussex County."
                                         - Upsala College, Wirths
                                         Campus
      1986/1988 Catalog
      East Orange campus salutes Wirths Campus on th
      10th Anniversary!



118
Case 3:23-cv-22130-MCR-ZCB   Document 155-13   Filed 03/14/25   Page 121 of 176




                CAMPUS




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                                                                                  119
      Case 3:23-cv-22130-MCR-ZCB   Document 155-13   Filed 03/14/25   Page 122 of 176



                        DECEMBER
           SUNDAY                  MONDAY                     TUESDAY               WED
      NOTES:


           TIME                    FOR                  ACTION
      4                     5                          6                            7


      Hanukkah
      11                    12                         13                           14




      18                    19                         20                           21


                             E                          X                               A

      25                    26                         27                           2


      Christmas


120
Case 3:23-cv-22130-MCR-ZCB   Document 155-13   Filed 03/14/25    Page 123 of 176




                             1988
        THURSDAY                    FRIDAY                      SATURDAY

   1                         2                           3




   8                         9                           10



   15                        16                          17
   Yearbook
   Pix

  22                         23                          24


   M                         s
  29                         30                          31




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Case 3:23-cv-22130-MCR-ZCB   Document 155-13   Filed 03/14/25   Page 124 of 176



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          Case 3:23-cv-22130-MCR-ZCB       Document 155-13   Filed 03/14/25    Page 125 of 176




                                                                                            V
                                                                                            I
                                Sept. 11
                                      17
                                        Trenton
                                        Lycoming
                                                       A
                                                       H
                                                              Oct. 15
                                                                   22
                                                                      Moravian
                                                                      Del. Valley
                                                                                     H
                                                                                     A
                                                                                            K
                                     24 Albright       A           29 Lebanon Val.   H




       Aniboli
                                Oct. 1 Jersey City



                         Brian Milton
                                      8 Wilkes
                                                       H
                                                       A
                                                              Nov. 5 Widener
                                                                   12 Juniata
                                                                                     A
                                                                                     A
                                                                                            I
    wrence Archie        Mike Mischler
• thony Avalone
     Ayles
      Basis
 _ Campbell
:n-lo Caparruva
                         Marc Mosley
                         Thomas Odom
                         Daryn Palmer
                         Anthony Papadopolous
                         Cliff Repetti
                                                                                            N
     in Egan             John Rollino
        Fleming
      Gagliardo
- e Grella
    ris Hamler
 - lt Holliday
                         Jon Ronnenberg
                         Gerard Sachewicz
                         Keith Scott
                         Robert Squeglia
                         Ashley Stayskal
                                                                                             G
                                                                                             s
   • e Housman           Anthony Stevens
       ell Jackson       William Taylor
      Jarrett            Phil Volpe
 ·z11iam Judge           George Williams
~ Krivda                 Chris Wilson
   - Labbe               Joe Wolfersberger
=.: .1vf.iller           Richard Wright




                                                                                                 123
Case 3:23-cv-22130-MCR-ZCB   Document 155-13   Filed 03/14/25   Page 126 of 176




                       ROSTER
                Warren Davis
                Herb Dixon
                Steve Lewis
                Nate Moore
                Frank Prather
                Mark Wilborn
                Chuck Cole
                Scott Snead
                Darryl Holliday
                Ted Sochaski
                Darryl Newsome
                Lamurr Jones
            Case 3:23-cv-22130-MCR-ZCB          Document 155-13     Filed 03/14/25   Page 127 of 176


                                                                                              B
                                                                                              A
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                            •
                                                                                              T              J




-    ember                                           January
                                                                                              B
           Hunter College Tiponi Tnmt.           A   12    C.C.N.Y.            H


                                                                                              A
           (Hunter, NJ Tech, A any Pha.)             16    Catholic            H
    ember                                            18    Lehman              H
       Castleton                                 A   23    Kean                A
       St. Joseph's                              A   26    Manhattanville      A
       Washi~ton Col. Wild                       A   30    Staten Island       A
       Goose lassie                                  February
       (Washinfjton, Holy Family, Bloomfield)         2     FDU-Madison        H
           w:
           sala oliday Tournament                H    4    Ferrum              A
           dener vs. Castleton
       SE Mass. vs. Upsala
       Losers
       Winners
    uary
                                                      6
                                                     11
                                                     14
                                                     18
                                                     23
                                                           Ramapo
                                                           Mt. St. Mary
                                                           Caldwell
                                                           Bloomfield
                                                           Dominican
                                                                               A
                                                                               A
                                                                               H
                                                                               H
                                                                               A
                                                                                              L
       Kean Cougar Classic                       A   25    SUNY-Old Westbury   H
i      (Kean, NY PolyTech,
       Bridgewater)
       Lynchburg                                 H
                                                                                              L
                                                                                                       125
      Case 3:23-cv-22130-MCR-ZCB      Document 155-13        Filed 03/14/25     Page 128 of 176


      B
      A
       s
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      E
      T
      B            November
                   18    Ramafao Tnmt.
                         Upsa a vs. Ramapo
                         Caldwell vs.
                                              A   January
                                                  12
                                                   14
                                                         Scranton
                                                         Southampton
                                                                            A
                                                                            A
                                                                                          ROSTER
                                                                                      Sue Cackowski
                         St. Elizabeth's          16     NJ Tech            H
                                                   19    St. Elizabeth's    H         Yvette Crawley, Cc


      A            19
                   22
                   29
                         Ramafuo Tnmt.
                         Gouc er
                         Delaware Valley
                   December
                    1
                    3
                         Maa{mount
                         Cal well
                                              A
                                              H
                                              A
                                              A
                                              H
                                                  21
                                                  24
                                                  26
                                                  28
                                                  Februb
                                                          Drew
                                                         Staten Island
                                                          FDU-Madison
                                                          Kings
                                                                            H
                                                                            A
                                                                            H
                                                                            A
                                                                                      Lisa Doctor
                                                                                      Arlene Jones
                                                                                      Elena Kaiafas
                                                                                      Sherise Martin
                                                                                      Margaret McCarg
                         St. Elizabeth's      A     1      rew              A
                    6                               4    Scranton           H         Charlene Robinso,:


      L
                    9    Upsala Holiday Tnmt.       8     Vassar            A         Jamie Sargeant
                         NJ Tech vs. LebVal H     11      FDU-Madison       A
                         Upsala vs.                                                   Henrietta Smith
                                                   13     Delaware Valley   H         Shad Varasteh
                         Swarthmore                16     Kings             H
                   10    Consolation Game          18     NJ Tech           A         Connie Wilson
                         Championship Game         21     Cedar Crest       H         Leah Wilson
                   12    Mt. St. Mary         A


      L
126
 Case 3:23-cv-22130-MCR-ZCB       Document 155-13           Filed 03/14/25   Page 129 of 176



                      Co                         e                                   s
      ROSTER              March
                          27    Ramapo*
                          28      Delaware Valley*
                          April
         Carter
     -~ e Crawley
   - ·na Floyd
       ne Joseph, Capt.
                           1
                           3
                           5
                           6
                           7
                                  NJ Tech*
                                  Caldwell
                                  Coll. of New Rochelle
                                  Fairletfh Dickinson*
                                  Coll. o Mt. St. Vincent
                                                                                     0
 - -ma Kaiafas             8      Kinis*
                          11      St. eter's
_-- alie LaBella          13      Sarah Lawrence
_ :erise Martin           15      Scranton Univ.*
- rgaret Mccargo
:- tima Thormes
--=- lly Trause
T ah Wilson
                          17
                          21
                          24
                          26
                          28
                                  Manhattan
                                  Mt. St. Mary
                                  Bloomfield
                                  Jerseli City State
                                  St. E izabeth's
                                                                                     F
                          29      Centenary
                          May
                           1      Dowling
                           3      Rutgers, Newark
                          *Denotes Double-header

                                                                                     T
                                                                                     B
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Case 3:23-cv-22130-MCR-ZCB   Document 155-13   Filed 03/14/25   Page 130 of 176



                                          upsafa
          p
          E
          p                                                                       MEMBERS

                                                                              Granger Kee
                                                                              A prz·z Jenkins
                                                                              Lisa Franklin
                                                                              Lena Johnson
                                                                              Sondra Le WIS•
                                                                              L~tr_ice Boyd
                                                                              Vivia Hill
                                                                              Michelle Brown




          s
                                                                              Latonya Frazie-r
                                                                              Kelly Ford




          u
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    128
         Case 3:23-cv-22130-MCR-ZCB   Document 155-13   Filed 03/14/25   Page 131 of 176



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                                                                                E
        ROSTER                                                                 A
         Carter
      • sa Grant, Capt.
   - ya Hughes, Capt.
     hie Merunka
                                                    .'                         D
 - -ine Mokrzycki                                       (!_
    risty Morales
      ise Parks
~-racy Ramos, Capt.                                       -..   ...
                                                                               E
-~,mifer Schoenek
: ·m Tutt
:Janielle Washington, Capt.                                                    R
                                                                                s          129
Case 3:23-cv-22130-MCR-ZCB     Document 155-13    Filed 03/14/25      Page 132 of 176




 B                                              up~aCa
          M.                                      BASEBALL
                                ROSTER            March

A                            Fred Fossett
                             Edgar Feliciano
                                                  25
                                                  29
                                                  31
                                                                Tufts*
                                                                Jersey City
                                                                Rutgers, Newark
                                                                                            H
                                                                                            H
                                                                                            H
                             Sam Zamloot          April
                             Luis De La Cruz       1             Scranton*                  H
                             Angelo Cammanna       2             Manhattanville             H



 s                           Jim Walsh             8             Drew*                      H
                             Roy Jarrett           9             Staten Island              A
                             Mark Shipley         11             Albright                   H
                             Paul Iantosca        12             Kean                       H
                             Gerard Sachewicz     13             William Paterson           H

           E                 Frank Furfaro
                             Dave Kole
                             Nate Moore
                                                  15
                                                  19
                                                  20
                                                  22
                                                                 Fairleigh Dickinson*
                                                                 New Jersey Tech.
                                                                 Bloomfield
                                                                 Delaware Valley*
                                                                                            A
                                                                                            A
                                                                                            H
                                                                                            H
                             John Beck

 E                           Bob Weiss
                             Robert Squeglia
                             Rick Hauser
                                                  23
                                                  24
                                                  26
                                                  28
                                                                 St. Thomas Aquinas*
                                                                 Bloomfield
                                                                 Montclair
                                                                 Lehigh
                                                                                            A
                                                                                            H
                                                                                            A
                                                                                            A

           N                                      29
                                                  30
                                                  May
                                                   2
                                                                 Kings*
                                                                 Rutgers

                                                                 Ramapo
                                                                                            A
                                                                                            A

                                                                                            A

 B                                                 3
                                                   4
                                                   7
                                                   9
                                                                 Kean
                                                                 Trenton
                                                                 MAC Playoffs-Reading, PA
                                                                 Seton Hall
                                                                                            A
                                                                                            A

                                                                                            H

           N                                      *Double-header


                                                MEN'S TENNIS
A                               ROSTER            March
                                                  29             Jersey City                H
                             Chuck Behrmann       April

            I                Alex Lugo
                             Terry Ramrattan
                             Wayne Smith
                                                   4
                                                   8
                                                  10
                                                                 Fairleigh Dickinson
                                                                 Kings
                                                                 Scranton
                                                                                            A
                                                                                            H
                                                                                            H

 L                           Joe Dement
                             Greg Stevens
                             Michael Chung
                                                  11
                                                  14
                                                  15
                                                                 Hofstra
                                                                 Kean
                                                                 LaSalle
                                                                                            H
                                                                                            A
                                                                                            H



            s
                             Richard Schwartz     17             Drew                       H
                                                  20             John Jay                   H
                                                  22             Montclair                  A
                                                  24             Rider                      H
                                                  26             East Stroudsburg           H

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130
       Case 3:23-cv-22130-MCR-ZCB        Document 155-13        Filed 03/14/25   Page 133 of 176




                                HOCKEY
             ROSTER      Oct.       23       Rutgers                         H
                         Nov.        3       Morris County                   A



                                                                                       s
 eff Campbell                        5       Fordham                         A
Mike Kandraski                                                               H
Colin Quintal                       12       Pace
Ron Kolibus                         19       Morris County                   H
Frank Dofman                        20       Wagner                          A
  hris Hilleman
Rod Parisi
Frank Mastromonica
                         Dec.

                         Jan.
                                     3
                                     4
                                    14
                                             Pace
                                             Fordham ·
                                             Southern Conn.
                                                                             A
                                                                             H
                                                                             H       H         '




                                                                                        0
TValter Hayes
-:om Devaney                        21       Kings Point                     H
~ck Moholland                       28       Siena                           A
'im O'Brien
Jon DeDominicus
 oe Dement
3rian Decker
                         Feb.
                                    29
                                     4
                                     5
                                    17
                                             Siena
                                             Siena
                                             Montclair
                                             Manhattan
                                                                             A
                                                                             H
                                                                             H
                                                                             A
                                                                                      0
                                                                                      C C
                                    18       Wagner                          H
                                    25       Southern Conn.                  A
                                    26       Rutgers                         A




                                 SOCCER
                                                                                      K C
 OSTER

   "ilfred Augustin
JCJttny Denandjo
                         Sept.       5
                                     6
                                    14
                                    17
                                             Howard
                                             Montclair
                                             Pace
                                             Wilkes
                                                                             A
                                                                             A
                                                                             H
                                                                             A
                                                                                      E E
                                                                                      y
   ·miam Dezenzo
   incent DeMarco                   21       Drew                            H
~.dy Michael                        24       Moravian                        A
  !.:ltt Gegenfurtner


                                                                                                   R
                                    26       Staten Island                   H
?:zrk Kyung Soon         Oct.        5       Manhattanville                  H
       ovan Greaves
  _:>fe Gursey                      10       Bloomfield                      H
    ·oko Harputra                   12       Delaware Valley                 A
~ ·ery Larsen                       15       Scranton                        A
~ Metler                            17       New Jersey Tech.                A
:-"Jabo Nghunde                     19       Rutgers-Newark                  H
   - ly Pierre
.JTt Skrede                         22       Kings                           H
5un Stevens                         29       FDU-Madison                     H
zjnald Surpris           Nov.        2       York                            A
 - rew Vallejos                      5       Ramapo                          A
    Case 3:23-cv-22130-MCR-ZCB                                        Document 155-13         Filed 03/14/25   Page 134 of 176




                                                                                            WOMEN'S TENNIS
                                                                           ROSTER              September
                                                                                               14                Ramapo
                                                              Donnette Cruickshank, Capt.

        w.
                                                                                               19                Centenary
                                                              Elizabeth Golden
                                                              Fatima Thornes                   21                St. Elizabeth's
                                                              Desiree Howard                    26               New Jersey Tech.
                                                              Cassandra Bond                   28                Stevens Tech.
                                                              Shalonda Dunbar                  October
                                                              Janien Barrios                     3             Middlesex County
                                                              Kassie Niece
                                                                                                 5             New Jersey Tech.
                                                                                                 6             Rider


        T                                                                                       10
                                                                                                12
                                                                                                17
                                                                                                20
                                                                                                               Dowling
                                                                                                               St. Elizabeth's
                                                                                                               Staten Island
                                                                                                               Morris County

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        '            .                ,,:c:        :Ci,   j




    N · ··:                                                                                               GOLF
                                                                           ROSTER              April
                                                                                                      6            FDU/Moravian
'   '   '::•   · : ::;    ••   >   ,,, / )
                                                              Rick Labbe, Capt.                      14            Wesley/ Marymount
                                                              Ed Miller
                                                              Frank Dorfman                          17            Delaware Valley
                                                              Pat DeMere                             18            Monmouth/Wagner
                                                              Stacy Fannin                           19            Essex County Invit.


               I                                              Jason Spages
                                                              Jim Choi
                                                              Ashley Stayskal
                                                              Rick Rannou
                                                              Chris Hamler
                                                                                                                   Montclair /Seton Hall/
                                                                                                                   New Jersey Tech.




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Case 3:23-cv-22130-MCR-ZCB   Document 155-13      Filed 03/14/25   Page 135 of 176




          Upsala Alumni Letter Awards                                      A
      BASEBALL
      Jim Walsh
      John Beck
                              BASKETBALL (W)
                              Yvette Crawley
                              Elena Kaiafas
                                                                          w
      Bob Weiss
      SOCCER
      Sean Stevens
                              Jamie Sergeant
                              FOOTBALL
                              Mike Houseman
                              Jeff Cusack
                                                                           A               -
      Matt Gegenfurtner
      WRESTLING
      Doug Kent
      Willie Taylor
                              Walt Holliday
                              Rick Labbe
                              Jack Aniboli
                              Ed Miller
                                                                           R
      HOCKEY
      Frank Dorfman
      Rod Parisi
      Chris Hellerman
                              Tony Popodopolous
                              TENNIS (M)
                              Wayne Smith
                                                                           D
                                                                            s
                              Joe Dement
      BASKETBALL (M)          Alex Lugo
      Warren Davis            CHEERLEADERS
      Herb Dixon              Tracy Ramos
      TENNIS (W)              Melissa Grant
      Donnette Cruickshank    SOFTBALL
      Diana Vecchio           Joanne Joseph




                                                                                     133
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        '               Case 3:23-cv-22130-MCR-ZCB   Document 155-13   Filed 03/14/25   Page 136 of 176
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        I
                                                         lANUARY                                                    I




                                   SUNDAY                 MONDAY                        TUESDAY           WED
              I
              i
              I




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            I :i              1                      2                         3                          4
         n
                              Happy
            1
                              New Year!

              i
              j
                              8                      9                         10                         11
                                                                                Move On                   1st
            :                                                                   Campus                          I




              I
               !              15                     16                        17                         1
                   '

                                                     Martin Luther
                  l
                  l
                  '
                  I
                  '
                                                     King's Birthday
            J  I                                                                                          2-
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                              22                     23                        24
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Case 3:23-cv-22130-MCR-ZCB   Document 155-13   Filed 03/14/25   Page 137 of 176




                             1989
        THURSDAY                    FRIDAY                      SATURDAY

   5                         6                            7




   12                         13                          14




   19                         20                          21




   26                         27                          28




    NOTES:


    TIME                         FOR                      HOME

                                                                                  135
     Case 3:23-cv-22130-MCR-ZCB   Document 155-13   Filed 03/14/25   Page 138 of 176




                     MARRIOTT
            Alias: SAGA (Soviets' Attempt to Gag American
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      136
Case 3:23-cv-22130-MCR-ZCB   Document 155-13   Filed 03/14/25   Page 139 of 176




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Case 3:23-cv-22130-MCR-ZCB   Document 155-13            Filed 03/14/25   Page 140 of 176




HOME
SWEET
HOME

                                                                                             BREMER

                              Lisa Smith, Residence Director

                              (Upsala's equivalent of
                                  House Mother)

                                                                                           NELSENIUS




138
Case 3:23-cv-22130-MCR-ZCB     Document 155-13       Filed 03/14/25   Page 141 of 176




 inn, School Nurse




                             RESIDENCE DIRECTORS:
                             Allyson Backstrom
                             Warren Davis
                                                                                              -
                             SOUTH HALL:
                             Latrice Boyd
                             Joan Dolder
                             Cassandra McCullen
                             Sophia Merunka
                             Jessica Mansfield
                                                                                              -
                             Danni Washington
                             N eisha Lewis
                             NORTH HALL:
                             Bill Judge
                             Michael O'Callaghan
                             James Johnson
                             Kevin Phalon
                             Pete Lutot
                             Orlando Quinones
                             BREMER:
                             Mark Barfield
                             Yvette Crawley
                              NELSENIUS:
                              Donnette Cruickshank
                              Thabo Ngubane




                                                                                        139
     Case 3:23-cv-22130-MCR-ZCB    Document 155-13   Filed 03/14/25   Page 142 of 176




                               FEBRUARY
               SUNDAY                 MONDAY                     TUESDAY                WED
                                                                                        1




          5                    6                           7                            8


                                                                                        A ·

          12                   13                          14                           15


          Lincoln's Birthday                                Valentine's Day
          19                   20                          21                           2


                                  President's Day
          26                   27                          28




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    140
Case 3:23-cv-22130-MCR-ZCB   Document 155-13   Filed 03/14/25   Page 143 of 176




                               1989
            THURSDAY                    FRIDAY                      SATURDAY

       2                         3                              4




       9                         10                             11




       16                        17                             18




      23                         24                             25




       NOTES:

            TIME                      FOR                       ADVICE
  Case 3:23-cv-22130-MCR-ZCB         Document 155-13     Filed 03/14/25   Page 144 of 176



                    Administration
                               ~~.




                                         President Robert Karsten




               /



       Dean H. Edwin 'Titus                Dean Bill Alexander


142
Case 3:23-cv-22130-MCR-ZCB   Document 155-13   Filed 03/14/25   Page 145 of 176




                                                                                        -
                         Felicia Hamilton                   Elsie Bragger
.d Anderson
                                                                                        -




          College Center
                                                                                  143
      Case 3:23-cv-22130-MCR-ZCB                          Document 155-13   Filed 03/14/25   Page 146 of 176



                                                         Humanities



                                                     .
                      • t S •-," :   ~{~•

                                     _.:,..._-....




                                                                    Old Main




                    Robert Brown




                    James Lovell                                                              David Milgrome
1.
     144
     Case 3:23-cv-22130-MCR-ZCB    Document 155-13    Filed 03/14/25   Page 147 of 176




                                              William Deguire             Jane Jacobs




                                                                                                  •




                                                                                                  •


                     Carolyn Thorburn           James Stam             Ellen von Nardroff




Thomas White                                 Lawrence Be_nnett




                                                                                            145
Case 3:23-cv-22130-MCR-ZCB     Document 155-13   Filed 03/14/25   Page 148 of 176




                                         Pudet Hall




              foseph M. Most
Case 3:23-cv-22130-MCR-ZCB        Document 155-13       Filed 03/14/25     Page 149 of 176




                                                Gary Porter                     John Rollino




                                                                                                      -
                                                                                                      -
                Edward Kubersky               Alan Maccarone                   George Sellmer




    MaryAnn KapJan            B. J. Gleason                   Elaine Frieman




                                                                                                147
Case 3:23-cv-22130-MCR-ZCB   Document 155-13   Filed 03/14/25   Page 150 of 176




                     StJcial Sciences
                                                          .J
                                                                             .,
              David Barry                                         Kenneth Johnson




             William Olson




148
     Case 3:23-cv-22130-MCR-ZCB       Document 155-13     Filed 03/14/25   Page 151 of 176




Joyce Lopez           Alvin Bogart




Dennis Kelly         James Michaels               Arthur Paulson




                                      Beck Hall
                                                                                             149
  Case 3:23-cv-22130-MCR-ZCB     Document 155-13   Filed 03/14/25       Page 152 of 176




      Manijeh Zavareei         famesMcRoy              Fred Hahn                       Reginald Razzi




        Ali Kamali             Pichon Loh             Roger Seccia                    Mary Swigonski




                                                    Our apologies to those faculty members not picture •
                                                                  HUMANITIES
                                                                  Jerry Fortunato
                                                                  Joslyn Pogash
                                                                  Louise Simons
                                                                  NATURAL SCIENCE
                                                                  Denise Farley
                                                                  Margarita Sori
                                                                  SOCIAL SCIENCE
                                                                 Al Clapp
                                                                 Roy Domenico
                                                                 Basil Kardaras
                                                                 Morley Nkosi
                                                                 Valerie Scott




150
Case 3:23-cv-22130-MCR-ZCB   Document 155-13   Filed 03/14/25   Page 153 of 176
  Case 3:23-cv-22130-MCR-ZCB             Document 155-13         Filed 03/14/25          Page 154 of 176




      Student Services Center


                       Todd Jones                   Tony Belletieri                    Theresa Jaeger




      Reggie Greene                   Rose Pappas                    Johnetta Nelson




                      Diana Johnson                 Carol Thornton                     Denise Martin




152
Case 3:23-cv-22130-MCR-ZCB   Document 155-13   Filed 03/14/25   Page 155 of 176




Continuing Education



                                          Ann Ade                 Pearl Gorsky




                                                                                  153
      Case 3:23-cv-22130-MCR-ZCB   Document 155-13   Filed 03/14/25   Page 156 of 176




                                    Kenbrook




                                     Religion




                             George Freyberger        Maggie Hoyer
154
Case 3:23-cv-22130-MCR-ZCB           Document 155-13     Filed 03/14/25      Page 157 of 176




                                 Security




         Willie Brooks                 Jackie Bushong                More Security




                                                  E.O.F.
                                                                                       A.:     "'
        Marie Casciano                                                           Michael S. Brown




                           Admissions




                         Valerie Simurro            Romy Florence.
                                                                                                    155
         Case 3:23-cv-22130-MCR-ZCB               Document 155-13   Filed 03/14/25   Page 158 of 176




                                                  Library
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              David Murray


156
Case 3:23-cv-22130-MCR-ZCB   Document 155-13      Filed 03/14/25   Page 159 of 176




                                                                                     -
                                                                                     -

               Cathy Winn




               Ruth Shoge             Ann Oster
      Case 3:23-cv-22130-MCR-ZCB   Document 155-13    Filed 03/14/25      Page 160 of 176




                         Prospect House



                              Anita Leake            Michael Freyberger




      Elizabeth Pappas       Stefanie Smoke              Henry Ng




                                                       James Morgan               Jessica Mu ni=




158
    Case 3:23-cv-22130-MCR-ZCB    Document 155-13   Filed 03/14/25   Page 161 of 176




                                                                                             -




Elly Will            Ro McGrath




                                                                                       159
  Case 3:23-cv-22130-MCR-ZCB   Document 155-13   Filed 03/14/25   Page 162 of 176



                               MARCH
           SUNDAY               MONDAY                       TUESDAY                WE
                                                                                    1
      NOTES:
               TIME FOR MORE FRIEN
      5                    6                          7                             8




      12                   13                         14

                                                 SPRING


      19                  20                          21


      Palm Sunday

      26                  27                          28


      Easter


160
      Case 3:23-cv-22130-MCR-ZCB   Document 155-13   Filed 03/14/25    Page 163 of 176         -
                                                                                               f



                                   1989                                                        I :


4.Y          THURSDAY                     FRIDAY                      SATURDAY
        2                          3                           4




        9                          10                          11

                                                                                               -
                                                                                               -




        16                         17                          18
                                                                                               -
                             BREAK
                                   St. Patrick's Day
        23                         24                          25


         Holy Thursday             Good Friday
        30                         31                                                              '



         Bid Day



                                                                                         161
      Case 3:23-cv-22130-MCR-ZCB   Document 155-13   Filed 03/14/25   Page 164 of 176




                              SMILE!




162
Case 3:23-cv-22130-MCR-ZCB   Document 155-13   Filed 03/14/25   Page 165 of 176




                                                                                  163
      Case 3:23-cv-22130-MCR-ZCB             Document 155-13   Filed 03/14/25   Page 166 of 176




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164
Case 3:23-cv-22130-MCR-ZCB        Document 155-13    Filed 03/14/25   Page 167 of 176




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      Case 3:23-cv-22130-MCR-ZCB   Document 155-13   Filed 03/14/25   Page 168 of 176



                                       APRIL
           SUNDAY                   MONDAY                      TUESDAY                 WED_
       NOTES:


       TIME                            FOR                       SUPPORT
      2                       3                           4                             5


       Day-Light Savings
      9                       10                          11                            12




      16                      17                          18                            1

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      23                      24                         25                             2


                        30

166
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            Case 3:23-cv-22130-MCR-ZCB       Document 155-13   Filed 03/14/25   Page 169 of 176




                                     1989
;.JAY            THURSDAY                        FRIDAY                    SATURDAY

                                                                       1
             GRADUATION

             MAY 6, 1989
                                                                       April Fools' Day
            6                            7                             8



            13                           14                            15



            20                           21                            22
        I    Passover            N                             G
             E                                                     K
I           27                           28                            29
             Reading                     Exams
             Day                         Start


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            Case 3:23-cv-22130-MCR-ZCB                        Document 155-13               Filed 03/14/25          Page 170 of 176




                                                Boosters
      Wendy, I am so proud of you, may you always be happy! Love, Mom            Whoops! Careful on that Library ramp!!!
      Wendy, Congratulations to the best Vice President Upsala ever had.         SPECIAL THANKS TO MRS. HAMILTON: COPY, COPY, COPY.
      Love, Dad                                                                  Good Luck Doug, Congratulations, Love Mom and Dad.
      Congratulations Wendy, our one and only V.P., Love, Granma &               Doug: Congratulations and Best of luck in the future. Mrs. H. and !
      Grampa                                                                     the way, "Where's my cheesecake? ... Go back." Thanks .
      Good Luck Wendy, May your future be lucrative, Randy                       Congratulations Wendy - You Made it through F.M. - Doug
      Wendy, It seems like only yesterday that you were a duck, Love, Aunt       Wendy, You Made School Special! - Love, Goober
      Chris
                                                                                 Good Luck to my sweetheart, Paula
      To my gorgeous, talented, and intelligent Godchild, Good Luck, Aunt
      Chris                                                                      Good Luck and Best Wishes in the future Pauline
      Wendy, Best of luck to my beautiful niece, Love, Aunt Linda                Pauline - God Bless You - Grandma
      Make us proud, Wendy, Go for it. Good Luck, Joey & Bobby                   I wish you luck Paulin e, Love Dad
      Wendy, to the prettiest graduate at Upsala, Congratulations, Love,         Pauline - Best wishes always - Love, Mom
      Aunt La La & Uncle Barrett                                                 Good Luck to a Good Friend, Love, Sheila
      Wendy, To thine ownself be true. Love and God's Blessings, Grandma         Charlene - May life bring you everything you deserve and more . .
      & Grandpa H                                                                I'll cherish all the times and you do the same. Love, Steven
      Congratulations Goober! Only took you 4½ years - not bad!                  Good Luck, Charlene D.
      To all those in the class of 1989 - Congratulations and Good Luck.         Charlene - Good Luck and God Bless you as you go on in life - She"
      Stef - working with you is what made college fun!                          C. D. - May your life be prosperous in the future - Love, Mom R.
      Shruti - Good Luck and Congrats (you didn't change majors) Wendy           Charlene - Best wishes in the year to come - Elisa Ferguson
      Stef - You deserve the best - Good Luck, Love, Wendy                       To Audrine (the Love of my Life) Good Luck Baby - Myrone
      Wendy R. - Just call me your personal AAA! - Wendy H.                      Thanks to me, you would not have ever made it, sike! Congrats!
      Nancy - We did it! The yearbook is finally done! - Wendy                   Lisa - Wishing you the best of everything. Love, Mom
      "Ya know, I was asked to escort you at Homecoming"                         Lisa - We love you, keep up the good work - Your Brothers & Siste--:
      Stefanie - Don't YELL at me!! - Wendy                                      Every time you look in the closet or under the bed, Think of me . . .
      Are you a Freshman; Transfer Student??!!                                   Give me a call Lisa - Audrine
      Prof. D. Kelly - It really wasn't that bad - Love, your fav. student?      Good Luck L. M. in your future endeavors may you find all the succF-E
      Donna - Congrats, Aren't you glad, no more fund-raisers? - Wendy           To Lisa, I'll be there for you through the Ups and Downs .. .
      Class of '89 Officers made it happen!                                      GOOD LUCK honey. Love, Greg
      Yo Vinnie!                                                                 Congratulations Nita and the Class of 89 Best of luck - Netty
      Which way is the Parkway, Rich? Oh, back there?!                           Congratulations Nita & the best of luck. God Bless, Stacy
      Wendy, to a great gal who will go far - Love, the Smoke family             Congratulations Nutcracker, and you Know who you are! Wendy
      Congratulations and Good Luck Wendy - Letty Wells                          Congratulations class of "89" Don't worry, be Happy ...
      Stefanie - May your future be filled with happiness - Mrs. Hamilton        Reach higher for higher heights. God Bless - Wendy
      Stefanie - Knock 'em dead! Love, Liz P.                                    Congratulations Vernita, We Love you - Mom & Dad
      We're so proud of you, Stefanie - Love, Mom and Dad                        You have crossed the Bay, the Ocean lies before you
      Stefanie, Good Luck in 1990! - Love, Scott                                 Thanks a million! You have made my first semester at Upsala great . .
      Hey Stef - Sis, we always win!! Good Luck, Angie.                          I'll miss you so much Estelle! Best of luck in the future . ..
      Fm proud of you, Stefanie! Love always, Grandma                            Don't forget about us! Love always, Kelly Michelle
      Stefanie - to all your fond memories and good times - Love, Mom            Congratulations Uncle Manny! Love, Paula
      and Dad
                                                                                 Congratulations Manny on a great job well done! Love, Donna
      To my sister Stefanie, Good Luck in the future! Love, Angie
                                                                                 Congrats Manny on your achievement. Good Luck in the future - Jn:.
      Stefanie - Always remember Homecoming - Love, Mom and Dad
                                                                                 Congratulations Manny and the Best of Luck to you! Love, Mrs. C.
      Best of Luck in your future endeavors, Stefanie! Love always, Grandma
                                                                                 Congratulations to the class of 89!
      Congratulations, Wendy, and Good Luck to you in the future. - Donna
                                                                                 Congratulations Donna & the best of luck in the future . Love Kim
      Ste[, Congrats and the Best of Luck in all you do - Donna
                                                                                 Good luck in your endeavors, be a success! Love, Jen
      Manny, Congratulations, and all the best to you! I know you'll be great.
      - Donna                                                                    Congrats Donna & good luck in the future! Love, Ben




168
              Case 3:23-cv-22130-MCR-ZCB                        Document 155-13                Filed 03/14/25           Page 171 of 176


• ·e are proud of you Donna, Love, Mom and Dad                             Cretia
Good luck to the Class of 1989.                                            May every hope and dream come true. Good luck - Aunt L & Uncle H
.._ongratulations Donnette, Good Luck!                                     To Patty, A Great Gal! - Ro
      st wishes for a successful future                                    Sweet Patty - Anita
u0od luck ... World here I come!                                           To Patty, Someone I will always love and honor .. .
    fu ch success in your endeavors Donnette - Priscilla                   Good Luck - Alphonso
:Jannette - Good Luck, Look out world, here she comes!                     Congrats & Best of luck to you in the future Patty - Gabriella
u0od Luck you have just begun, Donnette!                                   Patty Thomas - Good luck to you in the future - Marua
:>onnette - best wishes for a successful future - Beverly                  Good Luck Ter Love Jen
u0od Luck Donnette ! - Carmen                                              Good Luck and Best wishes to all graduating Taus - Leigh
:>onnette, Best Wishes - Charlene                                          Good Luck Teri - Jackie
::;od Bless You Donnette - Charles                                         Teri - Best of luck in the "real world" Love Arthur
 Keep the Faith Donnette - Dorrey                                          Sean, "I would rather avoid both; but if I had to choose one ... or the
 Keep Looking Up Donnette - Emma                                           other I would rather suffer wrong than do wrong" B. W. to GAS
:Jannette, It 's your thing - Nicole                                       Ed, G. L. in your future years. Class of 89 rules - Love, Karen & Bob
    est wishes towards everything Donnette - Katia                         May you reach your goal We're proud of you.
 u0d Bless you always Donnette - Ken                                       "Eddie Baby" - I wish you lots of luck in your future endeavors ...
 ' ishing you all the best and the utmost success in life - Pete           May all your dreams come true. Te Quiero
:>onnette, wishing you the very best - Joan                                Ed - The future is yours We're proud of you
 Good luck Donnette - Dorothy                                              We 're proud of all your accomplishments Ed -
    ou've come a long way, Best Wishes Donnette - Mammie                   All Theta Friendships hold forever true - Don't forget us
 u()Od Luck and best wishes for the future Donnette - Ralph                Roses are Red, Violets are Pink, to Carol & Dari All men stink
 5am Z. Don't cruise and listen to any more good music - Phil              Hello Carol It 's nice to see you again Carol . .. Nos Veratu
 5am, We are very proud of you, Love Mom & Dad                             Hey #2, you 're the best. I love you so much Love always #1
  - mmy Z. Don't get drunk at those wine and cheese parties. Russ          You've been a great friend for the past 4 short years . . .
 ::;ood Luck Sam, I love you . your sister, Andrea                         We've had some great times, Love Judy
  - m, Lots of Luck, Health, and Happiness. Love Always, Grandma           God Bless my loving daughter, Tabatha, on her graduation day- Mom
     ood Luck Upsala!                                                      Tabatha - Good Luck in 1989 Love, Dad
 u()Od Luck Duane!                                                         Good luck and God Bless you in the real world. Love, Shelia & Ed
 ~ongratulations John John, Love, Jenny                                    G.L. & God Bless you my wonderful goddaughter - Love Aunt Debbie
 God Bless Dez, Q and J. C. Forever                                        Good Luck in Law School & Think positive - Love Tabby-cat
 --ongratulations John. Love Kim and Stacey                                It's about time - Congratulation #32 LV M&D
 Happy Senior Year to all Seniors!                                         Way to Go #80 Love, Nancy
 '. e Hockey is #1                                                         Congratulations M&D
 ....ongratulations Sherie, Keep going - don't stop - Tanya                I knew we'd do it. Congrats Love, Paula, Dion, & Gary
 Congratulations Sherie, - Rose                                            Congrats We'll keep smiling behind you - Your loving sister - Rita
  - erie - Congratulations - Sally                                         Wish you all the Luck - Louise Harris
 uJngratulations to my godmother - Love Sonya                              Sherie, You are the greatest God Bless you always - Love You Mom
 : o my mother and all who believed in me - Thanks. Love, Sherie           Sherie Good Luck in Law School Love, Brenda
  -uccess is not measured by heights but by obstacles overcome ...         Mel and Irene
  : o Sherie, Love, Aunt Eunice                                            Your fantastic Nancy! Love Mom and Dad
  ~est Luck in the future to become the world's greatest lawyer!           Good Luck Matthew!
 Good luck in the future and may God continue to bless you.                Congratulations #32 !LY - Button
 Coad luck Sherie and good times to all! - Ron                             Good Luck in the future Shawn, Tab, Charlene, Donnette & Estelle
 Sh erie - God Bless you and your class - Michele                          BC, I LOVE YOU N-F-A your MD
 Good Luck Sherie!                                                         I will miss you guys next semester - S,J,Q,T,F,R,C,M,N - Nicole
 Good luck on your endeavors to become a lawyer. Bruce                     Thanks Mac for a great semester - Good Luck - Nicole
.-\!ways Look forward, never back, they may be gaining on you              Good Luck Vikings "89"
 3est Wishes - Aunt Paulette                                               Good Luck Kevin Egan - Class "90"
.\.'fay all the plans you're making now work out exactly right - Stanley   Best wishes to the class of 89!
 . :fay you have fulfillment on this graduation day - Love Steve &         Peg Luna




                                                                                                                                                     169
          Case 3:23-cv-22130-MCR-ZCB                     Document 155-13              Filed 03/14/25          Page 172 of 176

      God Bless you in all you do                                           Grow in knowledge and success - The Big Boss Man
      May the Lord make straight your path                                  Michele D. - Good Luck in the future & it was nice working W/
      Congratulations - You're the Best Mom - Love, Tonya                   RA, P 2, M2: Thanks for Cape Cod, Easter Moonrise, Wintergreer:
      May God use you to bless many in your life - Love, mom                Lifesavers, Breakfast in bed, Practical Jokes
      You can do all things through Christ who strengthens you Carol        Good Luck Camel Drivers
      Good Luck to the Class of '89 - Brian Bartley                         Rho Alpha Phi Forever
      The Barfield Family                                                   Congratulations Good Luck Love You, Irene
      Jamie and Nikki; 2 down and 2 to go; I love Ya ..Love, Shad           Congratulations Sal - It's about time
      "Posse" = Q, Mac & Thorny - Lots of Luck, and thanx for makin it      Congratulations and good luck Sal "RHO"
      good                                                                  Sean, we'll divide the world up later, conquer it now. Pat
      Dawn, thanks for the time the memories, and the friendship - Pieter   Wendy, I finally gave you these boosters - Pat
      Mike, Trust Me, Marry Amy - Piete                                     Hey Phoebe, we did it maybe we'll put out the Times - the 3rd
      Doctor - Professor, Good luck wherever you end up - Pieter            Roy, Arthur, Dr. Barry - Thanks for a great senior year - Pat
      Bye Wendy - Good Luck - Pieter                                        So long everybody Look for me in the paper and news - Pat Allr
      The choice of America's scholars . . . Upsala University, Sweden      Be Happy, be successful, and keep in touch, congrats .. .
      Shawn - Here's wishing you luck & success for the coming years - G.   Good luck and good fortune to Celeste - Anne
      L.                                                                    Thanks for all of your help Prof K. Love CS
      To my Granddaughter with great love and pleasure . ..                 I could never have made it without your Love & support . ..
       It's wonderful to have a granddaughter like you . ..                 Matthew and Mom well here I am.
       I will always love you. Keep on keepin' on - Grandma Kathleen        Congratulations, I always Knew you could do it Honey. Love M -
       May you have much luck & success in your efforts . . .               Good luck Celeste, I am very proud of you. Love, Mom
       Become a successful lawyer! Go with God - The Hines Crew             To #14 - You're #1 to me! Love, Mania
       Shawn - no daughter has ever made her father more proud . ..         To my dear daughter, Liz, Love & Best Wishes, Mom
       Keep your head to the sky & don't look back - Love, Daddy            Brian, Best wishes for the future , Love Mr. & Mrs. Valente
       Shawn - Good luck in law school - Peace, A Special Friend            Congratulations to the future leaders! Mr. & Mrs. Valente
       To a valued employee and a person of high integrity - Good Luck      Good Luck & Best Wishes to the class of 89! Mr. & Mrs. Wm . De;;
       Shawn - Lots of Luck - Love, Merry                                   Ag - Without you, I would have never come so far, Love, S. Sil-~
       Shawn - Strive for the top and accept nothing other - Love, Tanya     Shruti, you've been a great friend . Don't ever change. Elena Kai
       To Shawn - The one and only, my favorite granddaughter .. .           I.T.A.L.Y. Forever together. A & S
       You will always be close to my heart .. .                            Jackie, I take the blame for everything. - Allyson
        Good Luck in law school. Go with God - Love, Grandpa Travis          Mr. Ng - Thanks for the hubcaps every pledge week - the C;
       Whip Congrats "you're the one Shawn" . . .                            Drivers
        You can be the best with pride, respect & ambition ...               GFP - unlock your books, I'm gone - Al
        Be the best . . . "it's casual" Love, Mark Priester                  Bums, Nice ones! Allyson
        You are going to be outstanding                                      RA's - Great job! Mom
        You are going to be a success                                        Hey Great Johal, My name better be in here or I'll smack you - -
        You are going to be missed - Love Ya                                 Duke
        Jo - May your future hold only success Love, Mom                     To all the tutors - Good Luck and SSSHHH! D. H.
        Congratulations Joanne, Love, Jackie                                 Georgina, Good Luck, Keep in touch. You are a special friend. Sh
        Lots of success for the future - Love Aunt Janet                     Wendy, Elena, Allyson - Good Luck in the future and keep in •~
                                                                             Shruti
        Joanne -All the Best -ALWAYS - Love, Nana
                                                                             Felicia - With all our love, Good Luck. Hamilton Family
        Congratulations Class of "89"
                                                                             Felicia - To our big sister, Good Luck. Allen & Keisha
        Congratulations to the class of "89" - From Mrs. Joseph
                                                                             Felicia - You made it through, Good Luck, Mom & Dad
        Best of Luck to Sharon, Wendy & Ed & the rest of my Friends - Jo
                                                                             Sincere Congratulations
        I'm proud of you Joanne - Love, Dad
                                                                             Congratulations and Best Wishes for a bright future .
        Good Luck to Joanne & the Class of '89 - Paul & Stella Joseph
                                                                             Love and Best wishes
        You finally made it - Way to go Jo Love, Lou
                                                                             Congratulations to the class of 1989 - The Isaac Family
        Congratulations Tony P. Good Luck Arthur
                                                                             Best Wishes in Life, Estelle - Chevron Felis
        It was a tough road Congratulations Tony P.
                                                                             Congratulations Estele Good Luck - Betty White
        Wish you all the happiness Brother - Arthur
                                                                             Congratulations to the class of 1989 - Edith Maynard
        It was your Destiny - The Family P.
                                                                             Good Luck to all the seniors - Maynard family




170
                   Case 3:23-cv-22130-MCR-ZCB                            Document 155-13              Filed 03/14/25         Page 173 of 176

Co ngratulations sis. Good luck in life                                         Jack - Brother of RHO ALPHA PHI - John Beck
Delight thy self in the Lord and He will give thee the desir,e . . . of thine   Jack - May you enjoy a future that meets all your expectations!
heart PS. 34:6                                                                  Michelle
Congratulations, much Happiness in the future                                   Good Luck in the future & happiness. Jack Aniboli
You have reached your endeavor with the help of God, family & friends           Jack - Don't worry, be happy - Anna Aniboli
Co ngratulations and keep on striving Estelle                                   Jack - Best of Luck big brother, give it all you got. Ramona
Estelle - Congratulations and Best Wishes - Ines Canton                         To Mom, Dad and my entire family, I love you very much I want to
Good Luck and Congratulations from Joyce Stapleton                              thank you for all of your support - Michele
Estelle - Congratulations on your endeavors                                     From Brown Eyes to me, Let's go back to Peter Pan's Never Land
Good Luck and best wishes                                                       The Alice A. Family wishes Michele DiGuiseppi the Best of Luck
Es telle I am proud of you May God bless, and prosper you                       Hey WKB, for all you've done, this BUD'S for you.
Co ngratulations Estelle, and Good Luck - Mary Sutton                           B. C. Wishes you a great life after graduation Hopefully together.
Ps 118:29 God Bless You, Oh Give Thanks unto the Lord for he is good            To Michele DiGuiseppi - Mom and Dad wish you success and
                                                                                Happiness
Good Luck and the best will come to you
                                                                                To your future - You made it.
I wish you much success and happiness and strive to be the best th
                                                                                To all my sisters of Gamma Sigma Sigma keep in touch, Love Mich.
Co ngratulations and Good Luck and keep up the Good Work
                                                                                To all my Alpha Kappa Psi Brothers, always remember in UU
You are one of the nice one. Don't ever change.
                                                                                U----- and I---------, Michele "Lank" DiGuiseppi
Congratulations to Estelle & much success - Sabrina F.
                                                                                To Jessica, a person I will always treasure like a sister . ..
To Hunt Estelle best of wishes in all your endeavors - Love, Angela
                                                                                Thanks for being there. Love to Ya Lots, Michele .
.:Vfy Sister, Estelle, thank you for a fine, example as a young lady
                                                                                Congratulations Rosemarie . .. Love Mom and Dad
To Estell Best wishes in whatever you do - Sharnese
                                                                                Nancy, Juan and Michele ... we made it ... Rosemarie
Best of wishes as you go on in life - Nashica
                                                                                Keep Kenny on the Bench where he belongs.
Best of Luck to a friend that is love, Thanks for everything - Lena
                                                                                SNAP!!!
Congratulations to a fine friend Best wishes in the future Estelle
                                                                                To the boys: RM, TM, NS, AD, JB; We had good times - DH
Congrats best of luck & lots of hugs & kisses to my best friend ...
                                                                                To the boys in the gym - Rich & Luther - "Get it" - Doug
   ngel Sister and Mom, Love Baby Doll
                                                                                Well, here's the yearbook . . . Thanks for your patience
The best wishes for the future to the nicest person around - CEA
                                                                                Good Luck to the Class of 1989!
Good Luck in everything you do in the future - your friend Paul
                                                                                Hope you Liked Everything!! - Senior Class Officers
To my daughter may the Lord continue to bless you & guide you
To the young lady that has more children than my mother
Co ngrats and have the most success in the future - Connie
   hank God Estelle maybe now you'll get off that mission
   au are a dear friend to me. Best of luck in all you do - Saundra
   o the craziest sister I've ever had. Thanks for being there - April
   o the craziest mom of all I love you, stay adorable & sweet.
  elicia - Good Luck in the future. Love ya, Carey
   Love .You Mommy - William Hamilton



Estelle L. Maynard                                                                                         BS!
                                                                                                           to $50,000
Taurus
                                                                                                              Call now!
  Charming, Talented, Intelligent and sophisticated. Congrat-                                               06-736-7
ulations! Our very best wishes for a most successful and re-
warding future with God's guidance.
  Mommy, Earl Jr., Uncle Ben, Al, Paps & Aunt Liz, Cousin
Ruby & Family




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      Case 3:23-cv-22130-MCR-ZCB     Document 155-13   Filed 03/14/25             Page 174 of 176




               'Best Wishes
                  'Go 'You
              'Ghe Graduates
                   of1989
          Joseph J. O'Connor, m.

                                                          R&ft!:!!~~                 Closter, NJ 07624


                                                         Preseiits
      EST. 1935                       (201) 743-0600
                                                         INDUSTRIAL               RESIDENTIAL

         ARROW ELECTRIC MOTOR                                     Process    •   Glass   •   P.V.C.   •   A.B.S.

                            co.                                        BUGGELN BROTHERS
         ELECTRIC APPARATUS REWOUND REPAIRED                 PLUMBING & HEATING CONTRACTO
      GENERAL ELECTRIC AUTHORIZED SERVICE CENTER                            34 SPRINGDALE AVENUE
       EMERSON - WESTINGHOUSE - DELCO MOTORS                                  EAST ORANGE, N. J.
                 GATES - BELTS & DRIVES                                             673-7485
        RED DEVIL AUTHORIZED STOCKING SERVICE             3 Generations
                         CENTER                          Established 1921


      187 BLOOMFIELD AVE.         BLOOMFIELD, N.].



172
Case 3:23-cv-22130-MCR-ZCB                Document 155-13                      Filed 03/14/25               Page 175 of 176




                          AIR       CONDITIONING INC.
                                   ~.,dtac.4>~ and rff,;J'~
         Headquarters :                   • Industrial & Commercial
         1061 Paulison Avenul:!             HVAC Design & installation
         P.O. Box 2817
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         6 Ilene Court. Suite 3             Facilities, Reciprocating, Centrifugal
         P.O. Box575                        & Absorption Systems
         Belle Mead. N.J . 08502
         (201) 359-5432




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         EMERGENCY
           SERVICE
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                                                      Case 3:23-cv-22130-MCR-ZCB   Document 155-13   Filed 03/14/25   Page 176 of 176


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